     Exhibit A

(Trustee’s Complaint)
WHITE AND WILLIAMS LLP
Amy E. Vulpio, Esq.
James C. Vandermark, Esq.
7 Times Square, Suite 2900
New York, NY 10036
(212) 244-9500
vulpioa@whiteandwilliams.com
vandermarkj@whiteandwilliams.com

Counsel to Heidi J. Sorvino, Esq.,
 as the Chapter 11 Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                  Chapter 11

60 91st Street Corp.,                                   Case No. 20-10338 (SCC)
                               Debtor.



HEIDI J. SORVINO, as the duly appointed chapter Adv. Proc.
11 trustee for the estate of 60 91st Street Corp.,

                               Plaintiff,

v.

2386 HEMPSTEAD, INC.,

                               Defendant.


              COMPLAINT FOR A DECLARATORY JUDGMENT, TO AVOID AND
                RECOVER TRANSFERS, AND TO DISALLOW CLAIMS

         Heidi J. Sorvino (the “Chapter 11 Trustee”), as the duly appointed chapter 11 trustee for

the estate of 60 91st Street Corp. (the “Debtor”), brings this complaint (the “Complaint”) against

2386 Hempstead, Inc. (the “Lender”) and alleges1 as follows:


1
 The allegations in this Complaint are based upon the Chapter 11 Trustee’s information and belief,
obtained, without limitation, from a review of documentation and information obtained by the Chapter 11
Trustee and her professionals during the course of their investigatory work in the Debtor’s chapter 11
                                                  5
26199830v.2
                                    NATURE OF THE CASE

        1.     By the instant adversary proceeding, the Chapter 11 Trustees seeks a declaratory

judgment against the Lender declaring the Loan Documents (as defined below) and the

Foreclosure Judgment (as defined below) are void under New York law, as they were

impermissibly entered into by the Lender and Kim Mortimer, on behalf of the Debtor, after the

Debtor was dissolved by the State of New York.

        2.     The Chapter 11 Trustee further seeks to avoid and recover from the Lender, or

from any other person or entity for whose benefit the transfers were made, all preferential

transfers of property that occurred during the ninety (90) day period prior to the commencement

of the bankruptcy case of the Debtor (the “Preference Period”) pursuant to sections 547 and 550

of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), including any

judgement entered in favor of the Lender and against the Debtor during the Preference Period.

        3.     Subject to proof, the Chapter 11 Trustee also seeks to avoid and recover from the

Lender, or any other person or entity for whose benefit transfers were made, any transfers that

may have been fraudulent conveyances, pursuant to sections 548 and 550 of the Bankruptcy

Code as well as sections 273-279 of the New York Debtor & Creditor Law (the “DCL”).

        4.     In addition, the Chapter 11 Trustee seeks to disallow, pursuant to sections 502(a),

(b), (d), and (j) of the Bankruptcy Code, any claim that the Lender has filed or asserted against

the Debtor or that has been scheduled for the Lender.

                                 JURISDICTION AND VENUE

        5.     The United States Bankruptcy Court for the Southern District of New York (the

“Court”), has subject matter jurisdiction over this adversary proceeding, which arises under title



case, from a review of other publicly available documentation and information, and from information

26199830v.2
11, arises in, and relates to a case under title 11, pursuant to 28 U.S.C. §§ 157 and 1334. Venue

of the Debtor’s chapter 11 case and this adversary proceeding in this district is proper pursuant to

28 U.S.C. §§ 1408 and 1409.

        6.      This adversary proceeding is a core proceeding to be heard and determined by the

Court under 28 U.S.C. § 157(b)(2). The Chapter 11 Trustee consents to entry of final orders and

judgment by the Court.

        7.      The statutory and legal predicates for the relief sought herein are sections 502,

547, 548, and 550 of the Bankruptcy Code, Rules 3007 and 7001 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), sections 273-279 of the DCL, sections 1005

and 1006 of NY Business Corporation Law, and section 203-1 of the New York Tax Law.

                                            II.     PARTIES

        8.      The Debtor is a New York domestic business corporation, incorporated under the

laws of New York, and is the owner of the real property located at 60 West 91st Street, New

York, NY 10024 (the “Property”).

        9.      The Chapter 11 Trustee is the duly appointed chapter 11 trustee for the Debtor’s

bankruptcy estate and has standing to purse this action.

        10.     Upon information and belief, the Lender was, at all relevant times, a New York

domestic business corporation, incorporated under the laws of New York. Upon further

information and belief, at all relevant times, the Lender’s principal place of business was located

at 47 Glen Cove Rd., Greenvale, New York, 11548.

                                     FACTUAL BACKGROUND

Pre-Petition Background


provided parties in interest in the Debtor’s chapter 11 case.

26199830v.2
        11.    Prior to September 26, 1994, Arthur and Anne Sowell (who, upon information

and belief, were Kim Mortimer’s maternal grandparents) owned the Property as tenants in

common.

        12.    On or about August 29, 1994, the Debtor was organized as a New York domestic

business corporation pursuant to a Certificate of Incorporation filed with the Department of State

for the State of New York (the “NY DOS”).

        13.    After the Debtor was incorporated, the Debtor received ownership of the Property

as the result of two transfers: (1) the first transfer occurred on or about September 26, 1994,

when Anne Sowell transferred her one-half interest in the Property to the Debtor (the “1994

Transfer”), and (2) the second transfer occurred on or about February 18, 2011, when Arthur

Sowell’s one-half interest in the Property was transferred to the Debtor by Yvonne Sowell (a/k/a

Yvonne Mortimer) as the sole heir-at-law of Arthur Sowell (the “2011 Transfer”).

        14.    On or about July 29, 2009 (the “Dissolution Date”), the Debtor was dissolved,

pursuant to section 203-a of the New York Tax Laws, by the proclamation of the Secretary of

State for the State of New York published on July 29, 2009.

        15.    Upon information and belief, Kim Mortimer was, at all relevant times, operating

the Debtor’s business and managing the Debtor’s affairs, which includes all times after the

Dissolution Date and until the appointment of the Chapter 11 Trustee.

        16.    Upon information and belief, in 2015, Kim Mortimer began to operate and

manage the renting of apartment units at the Property through a new corporation, 60 91st Street

Corporation (the “New Corp”). Upon further information and belief, Kim Mortimer caused a

Certification of Incorporation to be filed with the NY DOS on or about August 24, 2015, which

effectuated the formal creation of New Corp.


26199830v.2
        17.      Upon further information and belief, following the creation of New Corp, Kim

Mortimer operated the business of renting the apartment units at the Property through New Corp,

including entering into leases in the name of New Corp, and also ceased filing tax returns for the

Debtor and reported all income derived from the Property as income on the tax returns filed for

New Corp.

        18.      After the Dissolution Date, and despite the fact that the Debtor was dissolved, the

Lender and Kim Mortimer, purportedly on behalf of the Debtor, executed the following Loan

Documents:

              a. upon information and belief, a promissory note dated August 13, 2015 (the “First
                 Note”), which purports to obligate the Debtor to repay the Lender the sum of
                 $1,400,000.00 (the “First Loan”);

              b. a mortgage purporting to secure the obligations under the First Note, dated August
                 13, 2015, which was recorded with Office of the City Register of the City of New
                 York at CRFN 2015000301919 (the “First Mortgage”);

              c. upon information and belief, a promissory note dated October 3, 2016 (the
                 “Second Note”), which purports to obligate the Debtor to repay the Lender the
                 sum of $300,000 (the “Second Loan”);

              d. a mortgage purporting to secure the obligations under the Second Note, dated
                 October 3, 2016, which was recorded with Office of the City Register of the City
                 of New York at CRFN 2016000435774 (the “Second Mortgage”);

              e. an agreement entitled Consolidation, Extension and Modification Agreement
                 dated October 3, 2016, (the “CEMA”), which purports to consolidate the
                 obligations under the First and Second Loans;

              f. a consolidated note dated October 3, 2016, (the “Consolidated Note”) purporting
                 to consolidate the First and Second Notes into one note; and

              g. a mortgage dated October 3, 2016 and recorded in the Office of the City Register
                 of the City of New York at CRFN 2016000435774 (the “Last Mortgage”), which
                 purports to secure the obligations under a “note signed by the [Debtor] and dated
                 September 2016”, which is a note unknown to the Chapter 11 Trustee (the
                 “September 2016 Note”).




26199830v.2
A true and correct copy of the Consolidated Note and Last Mortgage are attached hereto as

Exhibits A and B, respectively, and incorporated herein as if set forth at length.

          19.      Pursuant to the Consolidated Note, Kim Mortimer purportedly obligated the

Debtor to pay the Lender $1,700,000, plus interest, on or before October 3, 2017 (the “Maturity

Date”).

          20.      Upon information and belief, the Debtor failed to pay the Lender the amounts

owed under the Consolidated Note by the Maturity Date (the “Loan Default”).

          21.      On November 16, 2017, approximately one (1) month after the Maturity Date and

Loan Default, the Lender commenced a foreclosure action against the Debtor by causing a

Verified Complaint Mortgage Foreclosure (the “Foreclosure Complaint”) to be filed with the

Supreme Court of the State of New York in the County of New York (the “State Court”), which

was assigned index no. 850274/2017 (the “Foreclosure Action”). A true and correct copy of the

Foreclosure Complaint is attached hereto as Exhibit C and incorporated herein as if set forth at

length.

          22.      On December 9, 2019, the State Court entered a Decision + Order on Motion,

Judgment of Foreclosure and Sale (the “Foreclosure Judgment”) which provided for a sale of

the Property and payment of the following amounts to the Lender:

                a. $2,691,415.40 with interest at the note rate from April 30, 2019 until entry of
                   judgment, together with any advances as provided for in the note and mortgage
                   which [the Lender] had made for taxes, insurance, principal, and interest and any
                   other charges due to prior mortgages or to maintain the property pending
                   consummation of the foreclosure sale, not included in the computation upon
                   presentation of receipt for said expenditure to the Referee, and then with interest
                   from the date of entry of this judgment at the statutory rate until the date the deed
                   is transferred

                b. $1,590.00 for costs and disbursements in this action with interest at the statutory
                   judgment rate from the date of entry of this judgment; and


26199830v.2
              c. $20,000 for reasonable attorneys’ fees with interest at the statutory judgment rate
                 from the date of entry of this judgment.

A true and correct copy of the Foreclosure Judgment is attached hereto as Exhibit D and

incorporated herein as if set forth at length.

        23.      The Foreclosure Judgment does not reference either the Consolidated Note or the

September 2016 Note or otherwise identify the applicable note for determining the amount of any

additional interest or advances the Lender may be entitled to under the Foreclosure Judgement.

        24.      On December 20, 2019, the Debtor filed a Notice of Appeal with the State Court

challenging “each and every part” of the Foreclosure Judgment. A true and correct copy of the

Notice of Appeal is attached hereto as Exhibit E and incorporated herein as if set forth at length.

Post-Petition Background

        25.      On February 4, 2020 (the “Petition Date”), Kim Mortimer, who alleges that she is

the sole shareholder of the Debtor, filed a voluntary petition (the “Petition”) on behalf of the

Debtor for relief under chapter 11 of the Bankruptcy Code with the Court.

        26.      On February 27, 2020, the Lender filed a proof of claim [Claim No. 2-1] (the

“Lender’s POC”) to assert a secured claim of $3,016,316.05. The Lender’s POC includes a

copy of the Foreclosure Judgment, the Consolidated Note, and the Last Mortgage; however, it

does not include a copy of the September 2016 Note.

        27.      On April 30, 2020, the Court entered the Order Approving the Appointment of the

Chapter 11 Trustee [Doc. No. 28] approving the appointment of Ms. Sorvino as the Chapter 11

Trustee in the Debtor’s bankruptcy case.

        28.      On August 7, 2020, the Chapter 11 Trustee filed the Motion of Heidi J. Sorvino,

as the Chapter 11 Trustee for (I) an Order (A) Establishing Bidding Procedures, Terms and


26199830v.2
Conditions for the Sale of Substantially All of the Debtor’s Assets; (B) Approving Bid

Protections; (C) Approving the Form and Manner of the Sale; and (D) Scheduling an Auction

and Hearing to Consider the Approval of the Sale of Substantially All of the Debtor’s Assets; (II)

an Order Approving the Sale of the Debtor’s Assets Free and Clear of Liens, Claims and

Encumbrances; and (III) Granting Related Relief [ECF No. 134] (the “Bidding Procedures

Motion”). The Bidding Procedures Motions proposed certain requirements, procedures, and

deadlines (the “Sale Procedures”) for a potential auction and sale of substantially all of the

Debtor’s assets, including the Property (the “Sale”).

        29.    In preparation for a hearing on the Bidding Procedures Motion, counsel to the

Chapter 11 Trustee engaged Riverside Abstract LLC (the “Title Company”) to examine the title

to the Property and prepare a preliminary certificate of title (the “Preliminary Report”), which

reflects the dissolution of the Debtor as of the Dissolution Date. A copy of the Preliminary

Report is attached hereto as Exhibit F and incorporated herein as if set forth at length.

        30.    The Title Company advised the Chapter 11 Trustee that it would not be able to

issue title insurance for the conveyance of the Property, as a whole, due to the Dissolution of the

Debtor prior to the 2011 Transfer.

        31.    On September 14, 2020, the Chapter 11 Trustee filed the Motion of Heidi J.

Sorvino, as the Chapter 11 Trustee, Pursuant to 11 U.S.C. §§ 105, 363 and 541, for an Order (I)

Deeming Debtor a De Facto Corporation and (II) Finding Certain Real Property to be Property

of the Debtor’s Estate [ECF No. 154] (the “Title Motion”) requesting the Court find the

Property to be part of the Debtor’s estate.

        32.    On September 29, 2020, the Court enter the Order Granting Motion of Heidi J.

Sorvino, as the Chapter 11 Trustee, Pursuant to 11 U.S.C. §§ 105, 363, and 541, for an Order (I)


26199830v.2
Deeming Debtor a De Facto Corporation and (II) Finding Certain Real Property to be Property

of the Debtor’s Estate [ECF No. 171] (the “Title Order”), which held that the Debtor was vested

with title to the Property and that the Property, in its entirety, was part of the Debtor’s estate.

        33.     The Title Order did not address the Loan Documents, the Foreclosure Judgment,

or any other lien, claim or interest in the Property that is alleged by the Lender.

                             CLAIMS AND CAUSES OF ACTIONS

                                         Count I
                (Declaratory Judgment Finding the Lender’s Claims are Void)

        34.     The Chapter 11 Trustee repeats and reasserts the allegations contained in all of the

preceding paragraphs as if the same were set forth herein at length.

        35.     Pursuant to section 203-a of the New York Tax Law, a corporation may be

involuntarily dissolved by proclamation of the New York Secretary of State for failure to file

reports or pay taxes.

        36.     After a corporation is dissolved, it is prohibited from carrying on new business

because the corporation’s legal existence terminates, except for a limited de jure existences

solely for the purpose of winding up its affairs. 80-02 Leasehold, LLC v. CM Realty Holdings

Corp., 123 A.D.3d 872, 874 (NY App. Div. 2d Dept. 2014); Moran Enters., Inc. v. Hurst, 66

A.D.3d 972, 975 (NY App. Div. 2d Dept. 2009) (citing Business Corporation Law § 1005(a)(1)).

        37.     Pursuant to Section 1005(a)(2) of the NY Business Corporation Law, “winding

up” means “the performance of acts directed toward the liquidation of the corporation, including

the collection and sale of corporate assets.” 172 E. 122 St. Tenants Ass’n v. Schwarz, 73 N.Y.2d

340, 349 (1989) (citation omitted).

        38.     Moreover, only the claims and remedies available prior to the dissolution of a

corporation are preserved; therefore, claims arising after the company is dissolved, and any


26199830v.2
judgment based on such a claim, are null and void. See NY Business Corporation Law §

1006(b); see also Bayer v. Sarot, 51 A.D.2d 366, 368 (NY App. Div. 1st Dept. 1976) (“all

persons who had contracted or done business with the dissolved corporation are charged with

knowledge of the statutes governing the termination of its corporate existence upon dissolution,

and of the statutes governing its liquidation, and are bound thereby.”).

        39.    The Debtor was dissolved and its legal existence terminated as of the Dissolution

Date.

        40.    Kim Mortimer’s execution of the Loan Documents, on behalf of the Debtor, were

not in the furtherance of the winding up of the Debtor and thus, constitutes impermissible new

business.

        41.    Actions taken by the Debtor in violation of Section 1005 of the NY Business

Corporation Law are void, including the execution of the Loan Documents and entry of the

Foreclosure Judgment.

        42.    The Lender is a sophisticated party, charged with the knowledge of the Debtor’s

dissolution and the laws governing that dissolution, and had the means to determine the status of

the Debtor’s corporate existences prior to entering into the Loan Documents.

        43.    Despite the foregoing, the Lender, in its business judgment, chose to proceed with

the execution of the Loan Documents.

        44.    As the Loan Documents and the Foreclosure Judgment are based on claims arising

from after the Dissolution Date, they are void. The Lender may have recourse against Kim

Mortimer for claims arising from the Loan Documents, but not against the Debtor or the Debtor’s

estate. See 80-02 Leasehold, LLC, 123 A.D.3d at 874 (“A person who purports to act on behalf




26199830v.2
of a dissolved corporation is personally responsible for the obligations incurred”) (citations

omitted).

        45.    Pursuant to sections 1005 and 1006 of the NY Business Corporation Law, the

Lender impermissibly encumbered the Debtor’s property by obtaining the Loan Documents and

Foreclosure Judgment following the dissolution of the Debtor; therefore, the Chapter 11 Trustee

is entitled to a judgment declaring: (a) the Loan Documents are void, (b) the Foreclosure

Judgment is void, and (c) requiring the Lender to take such steps as necessary for the public

records to reflect that the Loan Documents and Foreclosure Judgment are void.




                                         Count II
                (Avoidance of Preference Period Transfers - 11 U.S.C. § 547)

        46.    The Chapter 11 Trustee repeats and reasserts the allegations contained in all of the

preceding paragraphs as if the same were set forth herein at length.

        47.    During the Preference Period, the Lender received transfers (the “Transfers”)

from the Debtor that were to or for the benefit of the Lender, including the transfer effectuated by

the Foreclosure Judgment.

        48.    Each Transfer constituted transfers of an interest in the Debtor’s property to or for

the benefit of the Lender.

        49.    The Lender was a creditor of the Debtor at the time of each Transfer by virtue of

the Loan Documents and the Debtor’s purported obligation to pay claims arising thereunder.




26199830v.2
        50.    Each Transfer was to or for the benefit of a creditor within the meaning of section

547(b)(1) of the Bankruptcy Code because each Transfer either reduced or fully satisfied a debt

or debts then owed by the Debtor to the Lender.

        51.    Each Transfer was made for, or on account of, an antecedent debt or debts owed

by the Debtor to the Lender before such Transfers were made, as asserted by the Lender and

memorialized in the Loan Documents, each of which constituted a “debt” or “claim” (as those

terms are defined in the Bankruptcy Code) of the Lender prior to the Transfers.

        52.    Each Transfer was made while the Debtor was insolvent. The Chapter 11 Trustee

is entitled to the presumption of the Debtor’s insolvency for each Transfer made during the

Preference Period pursuant to section 547(f) of the Bankruptcy Code.

        53.    Each Transfer was made during the Preference Period.

        54.    As a result of each Transfer, the Lender received more than the Lender would

have received if: (i) the Debtor’s bankruptcy case was a case under chapter 7 of the Bankruptcy

Code; (ii) the Transfers had not been made; and (iii) the Lender received payments of its debts

under the provisions of the Bankruptcy Code. As evidenced by the Debtor’s schedules filed in

the underlying bankruptcy case as well as the proofs of claims that have been received to date,

the Debtor’s liabilities exceed its assets such that the Debtor’s unsecured creditors will not

receive payment of their claims in full from the Debtor’s bankruptcy estate.

        55.    In accordance with the foregoing, each Transfer, including the Foreclosure

Judgment, is avoidable pursuant to 547(b) of the Bankruptcy Code.

        56.    Pursuant to sections 547(b) and 550 of the Bankruptcy Code, the Chapter 11

Trustee is entitled to a judgment: (a) avoiding the Transfers, (b) directing the Transfers be set




26199830v.2
aside, and (c) requiring the Lender, as the recipient of the Transfers, to take such steps as

necessary to set aside the Transfers.

                                           Count III
              (Avoidance of Constructive Fraudulent Conveyances - 11 U.S.C. § 548)

        57.      The Chapter 11 Trustee repeats and reasserts the allegations contained in all of the

preceding paragraphs as if the same were set forth herein at length.

        58.      During the two years prior to the Petition Date, the Lender received transfers (the

“Potentially Fraudulent Transfers”) from the Debtor that were to or for the benefit of the

Lender, including the transfer effectuated by the Foreclosure Judgment, the Chapter 11 Trustee

pleads that the Debtor did not receive reasonably equivalent value in exchange for the Potentially

Fraudulent Transfers; and

              a. the Debtor was insolvent as of the date of the Potentially Fraudulent Transfer(s),

                 or became insolvent as a result of the Potentially Fraudulent Transfer(s); or

              b. the Debtor was engaged, or about to engage, in business or a transaction for which

                 any property remaining with the Debtor or for whose benefit the Potentially

                 Fraudulent Transfer(s) was made was unreasonably small capital; or

              c. the Debtor intended to incur, or believed it would incur, debts beyond its ability to

                 pay upon maturity.

        59.      Each of the Potentially Fraudulent Transfers constituted a transfer of an interest of

the Debtor in property.

        60.      At the time of each Potentially Fraudulent Transfer, the Lender knew or should

have known that the Debtor was a dissolved corporation and incapable of entering into the Loan

Documents. Thus, the Lender received each of the Potentially Fraudulent Transfers without good



26199830v.2
faith and with the knowledge of their avoidability. Accordingly, the Lender is not entitled to a

replacement lien pursuant to section 548(c) of the Bankruptcy Code.

        61.      Pursuant to sections 548(a)(1)(B) and 550 of the Bankruptcy Code, the Chapter 11

Trustee is entitled to a judgment: (a) avoiding the Potentially Fraudulent Transfers, (b) directing

the Potentially Fraudulent Transfers be set aside, (c) requiring the Lender, as the recipient of the

Potentially Fraudulent Transfers, to take such steps as necessary to set aside the Potentially

Fraudulent Transfers, and (d) denying the Lender a replacement lien pursuant to section 548(c) of

the Bankruptcy Code.

                                           Count IV
                 (Avoidance of Actual Fraudulent Conveyances - 11 U.S.C. § 548)

        62.      The Chapter 11 Trustee repeats and reasserts the allegations contained in all of the

preceding paragraphs as if the same were set forth herein at length.

        63.      The Potentially Fraudulent Transfers received by the Lender constituted transfers

of an interest of the Debtor’s property.

        64.      The Potentially Fraudulent Transfers were made within two (2) years of the

Petition Date.

        65.      The Potentially Fraudulent Transfers were made with the actual intent to hinder,

delay, or defraud entities to which the Debtor was or became indebted to on or after the date of

the Potentially Fraudulent Transfers.

        66.      At the time of each Potentially Fraudulent Transfer, the Lender knew or should

have known that the Debtor was dissolved and the Loan Documents and Foreclosure Action were

legally impermissible. Thus, the Lender received the Potentially Fraudulent Transfers without

good faith and with the knowledge of their avoidability. Accordingly, the Lender is not entitled

to a replacement lien pursuant to section 548(c) of the Bankruptcy Code.

26199830v.2
          67.   Pursuant to sections 548(a)(1)(A) and 550, the Chapter 11 Trustee is entitled to a

judgment: (a) avoiding the Potentially Fraudulent Transfers, (b) directing the Potentially

Fraudulent Transfers be set aside, (c) requiring the Lender, as the recipient of the Potentially

Fraudulent Transfers, to take such steps as necessary to set aside the Potentially Fraudulent

Transfers, and (d) denying the Lender a replacement lien pursuant to section 548(c) of the

Bankruptcy Code.

                                      Count V
  (Avoidance of Fraudulent Conveyances - New York Law, DCL §§ 276, 276-a, 278, 279)

          68.   The Chapter 11 Trustee repeats and reasserts the allegations contained in all of the

preceding paragraphs as if the same were set forth herein at length.

          69.   The First, Second, and Last Mortgage constituted transfers (the “Mortgage

Transfers”) of an interest of the Debtor in property.

          70.   Each of the Mortgage Transfers was made within six (6) years of the Petition

Date.

          71.   At all relevant times there have been one or more creditors who have held and still

hold matured or un-matured unsecured claims against the Debtor that were and are allowable

under section 502 of the Bankruptcy Code or that were and are not allowable only under section

502(e).

          72.   The Mortgage Transfers were made with the actual intent to hinder, delay, or

defraud entities to which the Debtor was or became indebted to after each Mortgage Transfer

occurred.

          73.    At the time of the Mortgage Transfers, the Lender was aware or should have

been aware that the Debtor was dissolved and the Loan Documents and Foreclosure Action were



26199830v.2
legally impermissible. Thus, the Lender received the Mortgage Transfers without good faith and

with the knowledge of their avoidability.

          74.   Pursuant to sections 276, 278, and 279 of the New York Debtor & Creditor Laws

(the “DCL”), and section 544 and 550 of the Bankruptcy Code, the Chapter 11 Trustee is entitled

to a judgment: (a) avoiding the Mortgage Transfers, (b) directing that the Mortgage Transfers be

set aside, (c) requiring the Lender, as the recipient of the Mortgage Transfers, to take such steps

as necessary to set aside the Mortgage Transfers, and (d) recovering attorneys’ fees from the

Lender.

                                      Count VI
    (Avoidance of Fraudulent Conveyances - New York Law, DCL §§ 273, 278, and 279)

          75.   The Chapter 11 Trustee repeats and reasserts the allegations contained in all of the

preceding paragraphs as if the same were set forth herein at length.

          76.   Each of the Mortgage Transfers constituted a transfer of an interest of the Debtor

in property.

          77.   At all relevant times there have been one or more creditors who have held and still

hold matured or un-matured unsecured claims against the Debtor that were and are allowable

under section 502 of the Bankruptcy Code or that were and are not allowable only under section

502(e).

          78.   The Debtor did not receive fair consideration for the Mortgage Transfers.

          79.   The Debtor was insolvent at the time Kim Mortimer and the Lender caused the

Mortgage Transfers to occur, or, in the alternative, the Debtor became insolvent as a result of the

Mortgage Transfers.




26199830v.2
          80.    At the time of the Mortgage Transfers, the Lender was aware or should have

been aware that the Debtor was dissolved and the Loan Documents and Foreclosure Action were

legally impermissible. Thus, the Lender received the Mortgage Transfers without good faith and

with the knowledge of their avoidability.

          81.   Pursuant to sections 273, 278, and 279 of the DCL, and section 544 and 550 of the

Bankruptcy Code, the Chapter 11 Trustee is entitled to a judgment: (a) avoiding the Mortgage

Transfers, (b) directing that the Mortgage Transfers be set aside, and (c) requiring the Lender, as

the recipient of the Mortgage Transfers, to take such steps as necessary to set aside the Mortgage

Transfers.

                                            Count VII
(Avoidance of Fraudulent Conveyances - New York Law, DCL §§ 274, 278, and 279)

          82.   The Chapter 11 Trustee repeats and reasserts the allegations contained in all of the

preceding paragraphs as if the same were set forth herein at length.

          83.   Each of the Mortgage Transfers constituted a transfer of an interest of the Debtor

in property.

          84.   At all relevant times there have been one or more creditors who have held and still

hold matured or un-matured unsecured claims against the Debtor that were and are allowable

under section 502 of the Bankruptcy Code or that were and are not allowable only under section

502(e).

          85.   The Debtor did not receive fair consideration for the Mortgage Transfers.

          86.   At the time Kim Mortimer and the Lender caused the Mortgage Transfers to

occur, the Debtor was engaged in, or was about to engage in, a business or transaction for which




26199830v.2
the property remaining in its hands after each of the transfers constituted unreasonably small

capital.

           87.    At the time of the Mortgage Transfers, the Lender was aware or should have

been aware that the Debtor was dissolved and the Loan Documents and Foreclosure Action were

legally impermissible. Thus, the Lender received the Mortgage Transfers without good faith and

with the knowledge of their avoidability.

           88.   Pursuant to sections 274, 278, and 279 of the DCL, and section 544 and 550 of the

Bankruptcy Code, the Chapter 11 Trustee is entitled to a judgment: (a) avoiding the Mortgage

Transfers, (b) directing that the Mortgage Transfers be set aside, and (c) requiring the Lender, as

the recipient of the Mortgage Transfers, to take such steps as necessary to set aside the Mortgage

Transfers.

                                             Count VIII
(Avoidance of Fraudulent Conveyances - New York Law, DCL §§ 275, 278, and 279)

           89.   The Chapter 11 Trustee repeats and reasserts the allegations contained in all of the

preceding paragraphs as if the same were set forth herein at length.

           90.   Each of the Mortgage Transfers constituted a transfer of an interest of the Debtor

in property.

           91.   At all relevant times there have been one or more creditors who have held and still

hold matured or un-matured unsecured claims against the Debtor that were and are allowable

under section 502 of the Bankruptcy Code or that were and are not allowable only under section

502(e).

           92.   The Debtor did not receive fair consideration for the Mortgage Transfers.




26199830v.2
        93.    At the time Kim Mortimer and the Lender caused the Mortgage Transfers to

occur, the Debtor had incurred, was intending to incur, or believed that it would incur debts

beyond its ability to pay them as the debts matured.

        94.     At the time of the Mortgage Transfers, the Lender was aware or should have

been aware that the Debtor was dissolved and the Loan Documents and Foreclosure Action were

legally impermissible. Thus, the Lender received the Mortgage Transfers without good faith and

with the knowledge of their avoidability.

        95.    Pursuant to sections 275, 278, and 279 of the DCL, and section 544 and 550 of the

Bankruptcy Code, the Chapter 11 Trustee is entitled to a judgment: (a) avoiding the Mortgage

Transfers, (b) directing that the Mortgage Transfers be set aside, and (c) requiring the Lender, as

the recipient of the Mortgage Transfers, to take such steps as necessary to set aside the Mortgage

Transfers.

                                         Count IX
              (Disallowance of all Claims – 11 U.S.C. § 502(a), (b), (d), and (j))

        96.    The Chapter 11 Trustee repeats and reasserts the allegations contained in all of the

preceding paragraphs as if the same were set forth herein at length.

        97.    The Lender’s POC and any other claims asserted by the Lender against the Debtor

or the Debtor’s estate (collectively, the “Lender’s Claims”) must be disallowed to the extent the

Lender relies upon certain of the Loan Documents and the Foreclosure Judgment, which are void

because they are based on claims against the Debtor that arose after the Dissolution Date.

        98.    To the extent the Loan Documents are not void, the Lender’s POC does not

include the September 2016 Note and thus does not establish either (i) the Lender’s entitlement

to interest or advances beyond the amounts specified in the Foreclosure Judgment, to the extent




26199830v.2
the Foreclosure Judgment is not void, or (ii) the amount of the obligation secured by the Last

Mortgage.

        99.     The Lender is also a transferee of avoidable transfers under sections 544, 547 and

548 of the Bankruptcy Code and sections 273-279 of the DCL, which are recoverable by the

Chapter 11 Trustee under section 550 of the Bankruptcy Code.

        100.    The Lender has not paid to the Chapter 11 Trustee the amount of the avoidable

transfers, or turned over such property, for which the Lender is liable under section 550 of the

Bankruptcy Code.

        101.    Pursuant to section 502(a), the Chapter 11 Trustee may object to the Lender’s

claims in this chapter 11 case.

        102.    Pursuant to section 502(b)(1), any and all claims of the Lender and/or its assignee,

against the Debtor or the Debtor’s chapter 11 estate must be disallowed as arising from

transactions which are impermissible and void because they took place after the Dissolution

Date.

        103.    Pursuant to section 502(b)(1), the Lender’s Claims must be disallowed to the

extent the Lender’s POC fails to establish an entitlement to the amounts asserted or that such

amount is secured under any agreement or New York law.

        104.    Pursuant to section 502(d) of the Bankruptcy Code, Lender’s Claims as asserted

against the Debtor or the Debtor’s chapter 11 estate must be disallowed until such time as the

Lender pays to the Chapter 11 Trustee an amount equal to the aggregate amount of the avoidable

transfers, plus interest and costs.

        105.    Pursuant to section 502(j), any and all claims of the Lender, and/or its assignee,

against the Debtor or the Debtor’s chapter 11 estate previously allowed by the Debtor or the

26199830v.2
Chapter 11 Trustee, must be reconsidered and disallowed until such time as the Lender pays the

Chapter 11 Trustee an amount equal to the aggregate amount of the avoidable transfers.

        106.   Pursuant to sections 502(a), (b), (d), and (j) of the Bankruptcy Code, the Chapter

11 Trustee is entitled to a judgment disallowing any claims held or filed by the Lender against the

Debtor or the Debtor’s chapter 11 estate.

                                           Count X
                 (Reclassification of Claims and Determining Liens are Void
                           – 11 U.S.C. § 502(a), (b) and (j) and 506)

        107.   The Chapter 11 Trustee repeats and reasserts the allegations contained in all of the

preceding paragraphs as if the same were set forth herein at length.

        108.   To the extent the Lender’s Claims are not disallowed, the Lender’s Claims must

be reclassified as general unsecured claims to the extent the Lender relies upon certain of the

Loan Documents and the Foreclosure Judgment, which are void because they are based on claims

against the Debtor that arose after the Dissolution Date.

        109.   To the extent the Loan Documents are not void, the Lender’s POC does not

include the September 2016 Note and thus does not establish either (i) the Lender’s entitlement

to interest or advances beyond the amounts specified in the Foreclosure Judgment, to the extent

the Foreclosure Judgment is not void, or (ii) the amount of the obligation secured by the Last

Mortgage.

        110.   Pursuant to section 502(a), the Chapter 11 Trustee may object to the Lender’s

claims in this chapter 11 case.

        111.   Pursuant to section 506(a)(1), the Lender’s Claims are not secured because the

Lender does not have an interest in the estate’s interest in property.




26199830v.2
        112.     Pursuant to section 506(d), the Lender’s asserted liens allegedly secured claims

against the Debtor are void to the extent the Lender’s Claims are not allowed as secured claims

by the Court.

        113.     Pursuant to section 502(b)(1), any and all claims of the Lender and/or its assignee,

against the Debtor or the Debtor’s chapter 11 estate must be disallowed as arising from

transactions which are impermissible and void because they took place after the Dissolution

Date.

        114.     Pursuant to section 502(b)(1), the Lender’s POC must be disallowed as a secured

claim to the extent the Lender’s POC fails to establish an entitlement to the amounts asserted or

that such amount is secured under any agreement or New York law.

        115.     Pursuant to section 502(j), any and all claims of the Lender, and/or its assignee,

against the Debtor or the Debtor’s chapter 11 estate previously allowed as secured claims by the

Debtor or the Chapter 11 Trustee, must be reconsidered and disallowed as secured claims.

        116.     Pursuant to sections 502(a), (b), and (j) and 506(a)(1) and (d) of the Bankruptcy

Code, the Chapter 11 Trustee is entitled to a judgment reclassifying the Lender’s Claims as

general unsecured claims and decreeing any liens asserted by the Lender against the Debtor or the

Debtor’s estate are void.

        WHEREFORE, the Chapter 11 Trustee respectfully request that this Court enter

judgment in favor of the Chapter 11 Trustee and against the Lender as follows:

        a. On Count I: (a) declaring the Loan Documents are void, (b) declaring the Foreclosure

              Judgment is void, and (c) requiring the Lender to take such steps as necessary for the

              public records to reflect that the Loan Documents and Foreclosure Judgment are void.




26199830v.2
        b. On Count II: (a) avoiding the Transfers, (b) directing the Transfers be set aside, and

              (c) requiring the Lender, as the recipient of the Transfers, to take such steps as

              necessary to set aside the Transfers.

        c. On Count III and IV: (a) avoiding the Potentially Fraudulent Transfers, (b) directing

              the Potentially Fraudulent Transfers be set aside, (c) requiring the Lender, as the

              recipient of the Potentially Fraudulent Transfers, to take such steps as necessary to set

              aside the Potentially Fraudulent Transfers, and (d) denying the Lender a replacement

              lien pursuant to section 548(c) of the Bankruptcy Code.

        d. On Count V: (a) avoiding the Mortgage Transfers, (b) directing that the Mortgage

              Transfers be set aside, (c) requiring the Lender, as the recipient of the Mortgage

              Transfers, to take such steps as necessary to set aside the Mortgage Transfers, and (d)

              recovering attorneys’ fees from the Lender.

        e. On Counts VI, VII, and VII: (a) avoiding the Mortgage Transfers, (b) directing that

              the Mortgage Transfers be set aside, and (c) requiring the Lender, as the recipient of

              the Mortgage Transfers, to take such steps as necessary to set aside the Mortgage

              Transfers.

        f. On Count IX: disallowing any claims held or filed by the Lender against the Debtor or

              the Debtor’s chapter 11 estate.

        g. On County X: reclassifying any claims held or filed by the Lender as general

              unsecured claims and decreeing any liens asserted by the Lender against the Debtor or

              the Debtor’s estate are void.

and such other and further relief as this Court deems just and proper to grant the Chapter 11

Trustee, on behalf of the Debtor’s estate, full relief in this case.




26199830v.2
Dated:    New York, New York   WHITE AND WILLIAMS LLP
          November 23, 2020
                               /s/ James C. Vandermark
                               Amy E. Vulpio
                               James C. Vandermark
                               7 Times Sq., Suite 2900
                               New York, NY 100036
                               vulpioa@whiteandwilliams.com
                               vandermarkj@whiteandwilliams.com

                               Counsel to Heidi J. Sorvino, Esq., as the
                               Chapter 11 Trustee




26199830v.2
    Exhibit A

(Consolidated Note)
  Exhibit B

(Last Mortgage)
      Exhibit C

(Foreclosure Complaint)
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                                1 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                                2 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                                3 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM        INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                                4 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                                5 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM        INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                                6 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                                7 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM        INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                                8 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM        INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                                9 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM        INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               10 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM        INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               11 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM        INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               12 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM        INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               13 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               14 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               15 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               16 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               17 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               18 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               19 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               20 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               21 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM        INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               22 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM        INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               23 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               24 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               25 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               26 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               27 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               28 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                                29 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               30 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               31 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM        INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               32 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               33 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               34 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM        INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               35 of 36
FILED: NEW YORK COUNTY CLERK 11/16/2017 12:46 PM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 1                                  RECEIVED NYSCEF: 11/16/2017




                               36 of 36
      Exhibit D

(Foreclosure Judgment)
FILED: NEW YORK COUNTY CLERK 12/09/2019 10:13 AM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 109                                RECEIVED NYSCEF: 12/09/2019




                                1 of 13
FILED: NEW YORK COUNTY CLERK 12/09/2019 10:13 AM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 109                                RECEIVED NYSCEF: 12/09/2019




                                2 of 13
FILED: NEW YORK COUNTY CLERK 12/09/2019 10:13 AM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 109                                RECEIVED NYSCEF: 12/09/2019




                                3 of 13
FILED: NEW YORK COUNTY CLERK 12/09/2019 10:13 AM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 109                                RECEIVED NYSCEF: 12/09/2019




                                4 of 13
FILED: NEW YORK COUNTY CLERK 12/09/2019 10:13 AM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 109                                RECEIVED NYSCEF: 12/09/2019




                                5 of 13
FILED: NEW YORK COUNTY CLERK 12/09/2019 10:13 AM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 109                                RECEIVED NYSCEF: 12/09/2019




                                6 of 13
FILED: NEW YORK COUNTY CLERK 12/09/2019 10:13 AM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 109                                RECEIVED NYSCEF: 12/09/2019




                                7 of 13
FILED: NEW YORK COUNTY CLERK 12/09/2019 10:13 AM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 109                                RECEIVED NYSCEF: 12/09/2019




                                8 of 13
FILED: NEW YORK COUNTY CLERK 12/09/2019 10:13 AM        INDEX NO. 850274/2017
NYSCEF DOC. NO. 109                                RECEIVED NYSCEF: 12/09/2019




                                9 of 13
FILED: NEW YORK COUNTY CLERK 12/09/2019 10:13 AM        INDEX NO. 850274/2017
NYSCEF DOC. NO. 109                                RECEIVED NYSCEF: 12/09/2019




                                10 of 13
FILED: NEW YORK COUNTY CLERK 12/09/2019 10:13 AM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 109                                RECEIVED NYSCEF: 12/09/2019




                                11 of 13
FILED: NEW YORK COUNTY CLERK 12/09/2019 10:13 AM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 109                                RECEIVED NYSCEF: 12/09/2019




                                12 of 13
FILED: NEW YORK COUNTY CLERK 12/09/2019 10:13 AM         INDEX NO. 850274/2017
NYSCEF DOC. NO. 109                                RECEIVED NYSCEF: 12/09/2019




                                13 of 13
    Exhibit E

(Notice of Appeal)
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                                                  INDEX NO. 850274/2017
NYSCEF DOC. NO. 114                                                                                                                                    RECEIVED NYSCEF: 12/23/2019




           SUPREME             COURT            OF      THE      STATE         OF    NEW YORK
           NEW YORK                COUNTY
                                                                                                                           Index         No:      850274/2017
           2386       HEMPSTEAD,                INC.
                                                                                                                           NOTICE                OF
                                                  Plaintiff,                                                               APPEAL



                       -against-




           60 91ST       STREET             CORP.




                                               Defendant.




                       PLEASE               TAKE          NOTICE           THAT               Defendant             60     91st         Street     Corp.    appeals         to    the


          Appellate          Division,          First        Department,            from       each        and     every         part      of    the   Decision       of    the


          Honorable          Arlene         P. Bluth,        J.S.C.,   dated    November                21,      2019     and     entered         on December         9, 2019,      a



          copy     of which        is attached          hereto.




          Dated:       New     York,        New       York
                       December          20,    2019                                       Respectfully            submitted,
                                                                                           /s/ Julio       E. Portilla
                                                                                           Julio    E. Portilla,          Esq.
                                                                                           LAW         OFFICE            OF JULIO               E. PORTILLA,          P.C
                                                                                                                                17th
                                                                                           555     Fifth      Avenue,                   FlOOr
                                                                                           New      York,        NY      10017

                                                                                           (212)       365-0292

                                                                                           (212)       365-4417          fax
                                                                                           iptliliulioportillalaw.com
          To:
          The     Wolinsky         Law       Group,       P.C.
          Attorneys      for    Plaintiff
          160-02       Remington            Boulevard

          Ronkonkoma,              New       York       11779

          (631)    588-2900




                                                                                           1 of 19
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                                                        INDEX NO. 850274/2017
NYSCEF DOC. NO. 114                                                                                                                                       RECEIVED NYSCEF: 12/23/2019




                                 Supreme                            Gourt           of          tlle        f        tate          of       New             Worit


                         Appellate                      Binision:                       First                          fjubicial                Bepartment
                                               Informational         Statement      (Pursuant          to 22 NYCRR                 1250.3           - Civil
                                                                                                                                             [a])




                                                                                                                                                          For Court of Original       Instance




      2386        HEMPSTEAD,                   INC,



                                                                                                                                                                DateNotice of Appeal Filed
                                 - against         -


                                                                                                                                                                For Appellate     Division
      60   91ST          STREET           CORP.




              Civil    Action                                   O    CPLR article 78 Proceeding                  B    Appeal                                   O    Transferred   Proceeding
      O       CPLR article       75 Arbitration                       Special Proceeding        Other            O     Original      Proceedings                    O CP1.RArticle 78
                                                                                                                      O CPLR Article 78                                  Executive Law § 298
                                                                O    Habeas Corpus Proceeding
                                                                                                                            Eminent Domain                     O CPLR 5704 Review
                                                                                                                      O 1.abor1.aw220 or 220-b
                                                                                                                      O Public OMeers Law § 36
                                                                                                                      O Real Property Tax Law § 1278




      O    Administrative            Review             O      Business     Relationships               O       Commercial                     O    Contracts

      n    Declaratory           Judgment               O      Domestic     Relations                   O       Election       Law             O    Estate     Matters

      O    Family
                         Court                          B      Mortgage      Foreclosure                O       Miscellaneous                   O   Prisoner        Discipline     & Parole
      O    Real       Property                          O      Statutory                                O       Taxation                        O   Torts
     (other       than    foreclosure)




     Informational       Statement       - Civil




                                                                                            2 of 19
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                                                              INDEX NO. 850274/2017
NYSCEF DOC. NO. 114                                                                                                                                            RECEIVED NYSCEF: 12/23/2019




       Paper Appealed             From       (Check      one only):                                             If an appeal       has been taken             from     more   than   one order       or
                                                                                                              judgment           by the filing of this          notice    of appeal,      please
                                                                                                                indicate       the below information                 for each such order        or
                                                                                                             judgment            appealed      from        on a separate       sheet of paper.
       O Amended           Decree                                     O Determination                               O Order                                   O Resettled         Order
      O Amended            Judgement                                  O Finding                                     O Order        & Judgment                 O Ruling
      O Amended            Order                                      O Interlocutory         Decree                O Partial      Decree                     O Other (specify):
      lia Decision                                                    O Interlocutory       Judgment                O Resettled        Decree
      O Decree                                                        O Judgment                                    O Resettled       Judgment

      court:                              Supreme          Court                                                   County:                   New       York
      Dated:                           11/21/2019                                                                  Entered:        12/09/2019
      Judge (name          in full):      Honorable Arlene P, Bluth                                                Index      No.:850274/2017
      Stage:         O   Interlocutory               O Final      O Post-Final                                     Trial:        O Yes lil       No          If Yes:     O Jury      O Non-Jury
                                                                     Prior   Unperfected       Appeal      and Related           Case Information


      Are any appeals arising in the same action or proceeding    currently  pending in the court?                                                                         O Yes       R No
      If Yes, please set forth the Appellate Division Case Number    assigned to each such appeal.


      Where       appropriate,            indicate      whether     there    is any related     action     or proceeding           now   in any court           of this or any other
     jurisdiction,       and if so, the status             of the case:




                                                                                        Original    Proceeding


     Cõmmêñced             by:        O    Order      to Show Cause          O Notice      of Petition       O Writ of Habeas Corpus                          Date Filed:
     Statute      authorizing          commencement                of proceeding     in the Appellate             Division:




     Court:                               Choose         Court                                          County:                              Choose           Countv
     Judge     (name      in fuli):                                                                     Order      of Transfer       Date:



     Court:                            Choose            Court                                          County:                              Choose           Countv
     Judge     (name      in full):                                                                      Dated:



     Description:         if an appeal,          briefly describe the paper appealed    from.    If the appeal is from an order, specify the relief
     requested        and whether             the motion was granted     or denied.  If an original proceeding      commenced   in this court or transferred
     pursuant        to CPLR 7804(g),                briefly describe the object        of proceeding.             If an application          under        CPLR 5704,      briefly   describe      the
     nature     of the ex parte             order       to be reviewed.

    The       Supreme            Court        made        an     erroneous       ruling  by granting                Plaintiffs       motion          for    a judgment          of foreclosure
    and    sale      of the       property             commonly         known       as 60 West     91st              Street,       New       York,         NY 10023.



     Informational       Statement         - Civil




                                                                                                   3 of 19
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                        INDEX NO. 850274/2017
NYSCEF DOC. NO. 114                                                                                                       RECEIVED NYSCEF: 12/23/2019




       Issues: Specify the issues proposed   to be raised on the appeal, proceeding,               or app!!cation   for CPLR 5704    review,   the grounds
       for reversal, or modification to be advanced and the specific relief sought               on appeal.




      Instructions:      FIll In the   name  of each party to the action or proceeding,       one name per line. If this form is to be filed for an
      appeal,     indicate   the status  of the party in the court of original instance and his, her, or its status in this court, if any. If this
      form     is to be filed   for a proceeding    commenced     in this court, fill in only the party's name and his, her, or its status in this
      court.


       No.                                    Party   Name                                      Original   Status           Appellate     Division   Status
         1       60 91ST STREET CORP.                                               Defendant                            Appellant
         2       2386 HEMPSTEAD, INC.                                               Plaintiff                            Respcñdent
         3
        4
        5
        G
        7
        8
        9
       10
       11
       12
       13
       14
       15
       16
       17
       18
       19
       20




     Informational    Statement   - Civil




                                                                           4 of 19
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                                         INDEX NO. 850274/2017
NYSCEF DOC. NO. 114                                                                                                                         RECEIVED NYSCEF: 12/23/2019




             Instructions:         Fill in the names       of the attorneys      or firms   for the respective         parties.   If this form    is to be filed   with   the
             notice     of petition      or order    to show    cause    by which   a special      proceeding     is to be ccmmêñced
                                                                                                                                   Division,in the Appellate
             only     the name   of the attorney  for the petitioner need be provided.   In the event that a litigant represents  herself or
                                                 Se"
             himself,     the box marked "Pro        must be checked and the appropriate     information for that litigant must be supplied
             in the     spaces provided,


            Attorney/Firm             Name: Julio E. Portilla, Esq./Law Office of Julio E. Podilla, P.C.
            Address:555           Fifth Avenue, 17th Floor
            City: New York                                   State:   New York                     Zip: 10017                 Telephase     No: 212-365-0292
             E-mail     Address:jp@juliopodilialaw.com

            Attorney       Type:                    E   Retained        O Assigned          O Government                O Pro Se        O Pro Hac Vice
           Party      or Parties      Represented        (set forth   party   number(s)     from     table   above):

           Attorney/Firm            Name:        The Wolinsky Law Group, P.C.
            Address:       160-02 Remington Boulevard
            City: Rankonkoma                                 State:   New York                     Zip: 11779                 Telephone     No: 631-588-2900
            E-mail      Address:

            Attorney       Type:                    E   Retained        O Assigned          O Gavêrñment               O Pro Se         O Pro Hac Vice
            Party     or Parties      Represented        (set forth   party   number(s)     from     table   above):

           Attorney/Firm            Name:
            Address:
            City:                                            State:                                Zip:                       Telephone     No:
            E-mail      Address:

            Attorney       Type:                    O Retained          O Assigned          O Government                O Pro Se        O Pro Hac Vice
           Party      or Parties      Represented        (set forth   party   number(s)     from     table   above):

           Attorney/Firm            Name:
            Address:
            City:                                            State:                                Zip:                       Telephone     No:
            E-mail      Address:

            Attorney       Type:                    O Retained          O Assigned          O Government                O Pro Se        O Pro Hac Vice
           Party      or Parties      Represented       (set forth    party   rtumber(s)    from     table   above):

           Attorney/Firm           Name:
           Address:
           City:                                             State:                             | Zip:                        Telephone     No:
            E-mail      Address:

           Attorney        Type:                    O Retained          O Assigned          O Goverñmêñt                O Pro Se        O Pro Hac Vice
           Party     or Parties     Represented         (set forth    party   number(s)     from    table    above):

          Attorney/Firm            Name:
           Address:
           City:                                             State:                                Zip:                       Telephone     No:
           E-mail       Address:

           Attorney       Type:                     O Retained          O Assigned          O Government                O Pro Se        O   Pro Hac Vice

           Party     or Parties     Represented         (set forth    party   number(s)     from     table   above):


     Informational      Statement      - Civil




                                                                                           5 of 19
                                                                                                                                                  1M
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                                                                                               INDEX NO. 850274/2017
  |FILED       :       NEW        YORK              COUNTY                     CLERK                   12       /09          /2     019                                                                NO.   INDEX
                                                                                                                                                                                                           850274/2017
NYSCEF DOC. NO. 114                                                                                                                                                                         RECEIVED NYSCEF:   12/23/2019
  NySCEF       DOC.      NO          109                                                                                                                                                RECEIVED                       NYSCEF:                 12/09/2019




                                                          SUPREME                          COURT                     OF THE                 STATE                 OF     NEW YORK
                                                                                                      NEW YORK                             COUNTY

                          PRESENT:                       HON,        ARLENE                P. BLUTH                                                          PART                           ..         IAS MOTION                     32       .

                                                                                                                                        Justice
                                                                                                                        .                     X              INDEX NO.                           .         850274/2017
                              2386      HEMPSTEAD,                  INC.
                                                                                                                                                             NIOTION         DATE            ·                        N/A

                                                                                           Plaintiff,
                                                                                                                                                             MOT(ON          SEQ. NO.                             .003


                                                                                                                                                                  DECISION  + ORDER ON
                           60 91ST STREET                    CORP
                                                                                                                                                                  MOTION, JUDGMENT   OF

                                                                                           Defendant.                                                  .
                                                                                                                                                                 FORECLOSURE    AND SALE

                                                    .                                                                                         X
       .                                                        .
                         The fal:Gwir,g e-filed documents,   listed.by NYSCEF     document   number (Motion    003) 45, 46, 47, 48, 49,                                                                                                            .   .
                         50, 51, 52, 53, 54, 55, 56, 57, 58, 59, 60, 61, 62, 63, 64, 65, 66, 67, 68, 69, 70, 71, 72, 73, .74, 75, 76, 77,
                         79, 80, 81, 82, 83, 84, 85, 86, 87, 68, 89, 90, 91, 92,.93, 94, 95,. 102, 103

                         were      read on this motion                    to/for                                                        JUDGMENT             - FORECLOSUFtE                          & SALE                       ,




                                        The     motion        by      plaintiff           for     a judgraêñt                of foreclosure                and    sale   is granted.                  The     cross


                        motion          by defendant                to vacate          is denied.                                                                        .     ..


                        Backgrousid                                                                                                               ·                                                                    .


                                        In this     foreclosure              action,            plaintiff        moves             to confirm          the report        of Thomas                    Kleinberger,


                       . which         found      that    plaintiff          is due        $2,691,415.40                     as of April              30, 2019..                    .                  .          .


                                       In opposition                and     in support              of its motion                  to vacate,          defendant         claims         that          plaintiff             has


                        undean           hands      because           it purporiedly                   paid      itself       monies         froin         the proceeds             of the           loan     to which            it


                        was      not    entitled.         Defendant                also     alleges           that      plaintiff         changed           the agreed-upon                      terms        of the loan


           .   .        agreeinent             at the closing.               Defendant's                    principal          contends           that.:!±==gh               she was             represented                 by


                        counsel         at the closing              and      that    she signed                 the subject               agreement,             she was      suffering                from           distress
                                                                                                                                                                                                                                           .   .       .
                        due    to her mother's                illness.             She claims                she now              knows      the documeñ‡s                she signed                  do not


                        represent          the negotiations                  she previously                    had      with        the lender.



                         85Ö274/2017 '2386 HEMPSTEAD, (NC. vs. 60 91ST STREET CORP.                                                                                                     .                  Page 1 of 10
                   .     MotionNo. 003                                                                                                                                          .




                                                                                                                  1     of         13


                                                                                                                      6 of 19
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                                                                                                  INDEX NO. 850274/2017
  |FILED       :  NEW              YORK                COUNTY                     CLERK              12               O 9 /2            019          10      : 13                                              INDEX
                                                                                                                                                                                                              NO. 850274/2017
NYSCEF       DOC. NO.             114                                                                           /                                                                                   RECEIVED NYSCEF:  12/23/2019
   NYSCEF        DOC.      NO.       109                                                                                                                                                        RECEIVED               NYSCEF:             12/09/2019




                                           Defendant               claims         there      is'excusable                   default        because           the    building            had     no mail          carrier        at .


                           the time            the    Secretary           of State          mailed       the summons                        and complaint                  and      it has a meritorious


                           defense          based        on plÀintiff's                purported          fraud:!:ntly                    inducing           it to sign           the     loan.


                                           In reply          and       in opposition             to the cross-motion,                          plaintiff           emphasizes               that      defendant            was


                           represented                by counsel            throughout             the loan              agreement             proc'ess            and     explains           in detail          why


                           defendánt            received           approximately                  $87,000                from       the loan.              According             to plaintiff,           monies         were


                           deducted            for     unpaid          interest        owed       on the first                                       fbr                                  and       another          510,000           ·
                                                                                                                              mortgage,                     closing         costs,


                           was      held       in escrow           because             defendant          did        not      come         to the closing                 with      a proper           insurarice


                          policy.


                         . Discussion


                                       -The          Court       grants         the motion           and    denies                defendant's               cross-motion.                  As       an initial        matter,


         .   .            defendant             did     not     establish             a reasqnable          excuse                for    failing       to appear.                Defendant             did     not     claim


                          that     plaintiff          failed       to properly              effectuate          service             with      the Secretary                 of State.           Rather,          it blames                          .


                          the post         office       for      its mail         carrier       obligations.                  However,               the C.ourt           canhot          ignore        the fact        that


                          defendant             owns         the building-                  if the mail             service           was     lacking,             then     defendant's               principal         should             ,


                          have      taken        steps         to fix    the problem                 The        affidavit               of defendant's.principal                          is silent          on what         she
                                                                                  .                                                                                   .
    ..           .   .    did     to alleviate           the problem,                  when      she found                  out     about      it or how             long        this   problem              existed       prior


                          to service           through           the     Secretary           of State.              It.is     not       the obligation              of plaintiff              or the      Secretary            of


                          State     to ensure            that      the mail           service      at dehc':±'s                         building           is operatiñg             properly.             Here,        the     .


                          papers       were          served        to the correct               address         and defenilant                     merely          camplaips              she never            got them.


                          That      is not      enough           to establish             a reasonable                   excuse          for not       appearing.


                                       Even           if defendant              could       establish           a reasonable                  excuse,          it did       not     show          a meritoricus


                     .   defense.           The       principal           for     defendant          appears                 to claim         that     she does            no      like       the     agreement            that




                           850274/2017 2386 HEMPSTEAD,lNC.vs.6091STSTREETCORP.                                                                                                                               Page2of10.
                           MotionNo. 003




                                                                                                                     2       of     13


                                                                                                                         7 of 19
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                                                                                      INDEX NO. 850274/2017
                                                                                                                                                                                                   INDEX
                                                                                                                                                                                                   8502 74 /2 017    NO.
  (FI__L_EDDOC.
NYSCEF                     NO. 114                                                                                               19                                                  RECEIVED NYSCEF:  12/23/2019
   NYSCEF           DOC.     NO.        109                                                                                                                                      RECEIVED                  NYSCEF:                    12/09/2019




                              she signed.           While        the      Coùrt        ppreciates           that     s esay           háve       been     preoccupied                with        her mother's                    .


                             illness,     that     is not       a valid      defense        to this        action,        capacially            where      it is undisputed                 that     she was


                             reprcscñted           by counsel             at the closing.             Defendant             cannot        get out         of an agreement.becaus                             .its


                             piincipal        chose        to read        the terms        after     signing           it and     decided          she hoesn't           like.them               or that      they


                             might       have      been.different               from    previous            discussions           with       plaintiff..That             is presumably                  why                .


        .                    defendant          had       counsel         at the closing.                                  . .


                                          And      there        is. no basis        to fÈnd that           plaintiff       fraudulently             induced         defêñdant's                  principal           int


                            signing       the loan          agreement.              In her affidavit,               she.admits           that     she.s.igned         a previous                 promissory


                            note     for $1.4         million        in 2015         and   that     when           this   loan    neared          maturity,        she sought               out     new


                            financing.            In other        words,          defeñdañt         wanted           additional          money          front    plainti.ff.          There         is no basis


                           . to find     that     defendant            was      coerced       or fraudulently                induged                                 the agreemént                                         t      .
                                                                                                                                                into.signing                                           Rather,


                            appears       she sought             out      additional       financing            and received              it.


                                         Accordingly,               it is hereby


                                         ORDERED                  and ADJUDGED.that                          the in6tion           by plaintiff            for    a judgment                of foraclosure


                            and sale and to confirm                       the referee's            report      is granted;·and.it                 is further                          .      .


            .   .                        ORDERED                 that      the pross-motion                 by·defendant              is denied;          and     it is further              .


                                         ORDERED                 that     the mortgaged              property             described          in the complaiñt                  and     as described                 in .


                            this judgment,             or such          part·thereof          as may         be sufficient             tó discharge              the mortgage                debt,     the


                            expense       of sale and             the costs         of this    action         as.provided             in the RPAPL                be sold        within            90 Óays of                  ....


                           . this judgiñcat,           in one parcel,               at a public        aüctiòñ            at the 19ew ÝÓrk                County        Courthouse                  located          at          -


                           60 Centre            Street,     New         York,      New      York       under           the direction            of Thomas_KleinbergeL_E_sh                                          who


                           is anpeinted            Referee          for    this    purpose;         atid     it is.further




                             850274/2017 2386 HEMPSTEAD; INC..vs. 60 91ST STREET CÓRP.                                                                                                           Page 3 of 10
                             Motion No. 003   .           .                  -·




                                                                                                               3     of     13


                                                                                                                   8 of 19
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                                                                                             INDEX NO. 850274/2017
  [FILED: DOC. NEW  YORK                                COUNTY                  CLERK                        /09         /2019                                                                          INDEX
                                                                                                                                                                                                       NO. 850274/2017
NYSCEF         NO. 114                                                                              12                                       10:13                       AM|                 RECEIVED NYSCEF:  12/23/2019
  NYSCEF   DOC.               NO.       109                                                                                                                                             RECEIVED                 NYSCEF:             12/09/2019




                                            ORDERED                  that    the Referee           shall      give       public         notice      of the time                and place            of sale        in


                             . accordance          with       RPAPL            231(2)        in the New               York      Lâw     Jottrnal;          and the referee                   need      not       cõñdüut


                               the sale unless            plaintiff          shall    provide         the referee             with      proof       of publication                   of the notice             of sale,


                              and if the sale is adjourned                           due    to plaintiff's            failure        to provide         such             proof,      theñ     said     adjoummcat


                              shall     not be considered                   at the     referee's         request;            and     it is further               .


                                           ORDERED                 that      by accepting             this    appointment                the     Referee             certifies        that        she/he       is in


                              compliance           with       Part      36 of the Rules               of the Cliief              Judge      (22 NYCRR                       Part     36),     iñcluding,               but not


                              limited      to §36.2          (c) ("Disqualifications                       from       appointment"),                 and    §36.2              (d) ("Limi+ations                   on


                               ppointments              based         upon      compcñsation''),                  and,       if th'e Referee           is disqualified                  from        receiving             an     .


                     .        appõiñtiñeñt          pursuant            to the provisions.of                  that       Rule,        the Referee           shall                     at:+ely         notify        the


                              Appointing          Judge;          and       it is further                     .


             .                            ORDERED                 that       the Referee           is prohibited                frony    accepting          or retaining                    any    funds         for


                              herself/himself               or paying          funds        to hini/hcrself              vvithout        compliañcc                  with      Part     36 of the Rules                   of


                              the Chief        Administrative                  Judge;        and it is further


                                          ORDERED                 that       the Referee           shall     conduct            the foreclosure              saie           only      if Plaintiff,          its


                             . successars        and/or        assignees             or its representatives                     is present        at the sale               or the Referee                 has


                 .            received        a written        bid      and     Terms         of Sale        from        Plaintiff,        its.sü                        .rs and/or      assigns,          or its


                              representatives;              and       it is further


                                         ORDERED                  that       if the Referee            cannot          conduct          the sale       within              90 days          of the date            of this



                             judgment,          plaintiff         must       make          a motion        to extend            the time         to sell     the           subject      property            evilsñing


                         .   the reasons          for    thc,delay;            and     it is further                                                         .




                               850274/2017 2386 HEMPSTEAD, INC. vs. 60 D1ST STREET CORP.                                                                             .                                Page 4 of           O
                               MotloriNo.003




                                                                                                                  4    of       13


                                                                                                                   9 of 19
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                                                                                                                       INDEX NO. 850274/2017
  lf fLED DOC. NEW                                                                                                                                                                                                                INDEX
                                                                                                                                                                                                                                   850274/2017       NO.
NYSCEF      :        YORK
                NO. 114                                         COUNTY                   CLERK                     12      / 0 9 / 2 019                     10:13                                                   RECEIVED NYSCEF:  12/23/2019
  NySCEF              DOC.              NO.     109                                                                                                                                                        . RECEIVED                       NYSCEF:        12/09/2019




                                                      ORDERED               that     at the.time              of sale the Referee                         may      accept             a written                bid     from        the Plaintiff


                                        or the Plaintiff's              attorney,        just     as though                Plaintiff            were      physicàlly                 present            to submit                said        bid;    and


                                        it is further                                                         .                             .        .


                                                      ORDERED               that     the Referee                  shall     accept          the highest                bid     offered             by a bidder                  who          shall    be


                      .                 identified       upon      the court          record,          and         shall     reqûire            that      the successful                    bidder             immediately                   execute


           .../           .             Terms        of Sale      for    the purchase                 of the property,                     and pay to the Referee                                in cash,            certified              check     or


                  '
           ..                 .     bank        check,        ten percent            (10%)        of the           sum      bid,       unless            the successful                bidder              is Plaintiff,               in whicl


                                    case no deposit                against          the.purchase                  process          shall        be required              and         it is further


                                                     ORDERED               that      notwithstâñdiñg                       the previous                  phragraph,                the Referee                  shall          have         the right


                                    to refuse           cash     paymcñts            and require                  a bank       of cerlified                check         from         the        su        essful             bidder         and the


                                    Referee           shall     be entitled          to qualify           bidders             and require                 bidders            to show              proof         of funds               before.or



                                    during           the, auction;         and      it is further                                                                  .


                                                     ORDERED               that      in the      eyent            the first        successful              bidder            fails     to execute                    the      Terms          of Sale


                                    or fails         to immediately                pay      the ten percent                   (10Vo)            deposit      as required,                       the property                   shall        be


                                  . immediately                reoffered           at auction           on the tame                 day;.and              it is further


                              .     .                ORDERED               the Referee                shall        deposit         the dow n paymcat                           and         proceeds              of sale,          as


                                                         in an FDIC-insured.bank                              wliere         the Iteferee                has an ace                  üñt        for.thát         purpose               in
                                    necessary


                                    accordance             with         CPLR                     and     it is further                 ·                           ..        . .
                                                                                    2609;


                                                     ORDERED               that     after       the    balance             bf the purchase                   price           is paid            or credited                and     flie


                                                       is sold,      the Referee             shall       execúte            a deed          to the purchaser                         in ae         cidance              with       RPAPL
                                    property


                                    1353        and the tenns              of sale       (which          shall          be deemed                a binding              contract);                and      it is further




                                                                                                                                                                         -.                                .           . ..     Page 6 of .10
                                        850274/2017 2386 HEMPSTEAD, 1NC. vs. 60 91ST STREET CORP..
                                        Motion No. 003     . ..                     .        .                                                                                             ..




                                                                                                                               5    of          13


                                                                                                                              10 of 19
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                                                                                   INDEX NO. 850274/2017
  |FILED DOC.
           :  NEW   YORK                     COUNTY                     CLERK                                                                                                                   INDEX
                                                                                                                                                                                              NO. 850274/2017
NYSCEF         NO. 114                                                                        12     / O 9 / 2 019                   10          : 13          A                    RECEIVED NYSCEF:  12/23/2019
  NYSCEF   DOC.   NO.       109                                     -
                                                                                                                                                                                RECEIVED               NYSCEF:               12/09/2015




                               ORDERED                  that     in the event                 a party         other     than     Plaintiff          hecoraes             the purchaser              at the


                   sale, the closing               of title      shall        be held         no later         than      30 days         aner       the date            of such         sale;    and       it is


                  further


                               ORDERED                  that,       pursuant            to RPAPL               1353(1),          if Plaintiff            (or    its affiliate           as defined           in


                  paragraph           [a] of subdivision                     one of section                six-1       of the banking                law)          is the purchaser,               the


                  property         shall      be placed          back          on the niarket                 for     sale or other          eccupañcy                 within         180 days           of the


                  execution         of the deed               of sale or within                    90 days           of construction,               renovation,                or rehab         litation          of


                  the property,             provided           that     such         construction,              renovation           or rehabilitation                    procccded             diligently              to


                  completion,              whichever            comes          first,       provided           that     this    court      grants         an extension                upon       a showing


                  of good       cause;         and it is further                                                                             .


                              ORDERED                  that      the Referee,                 aner       receiving           the proceeds                of the        sale,    shall     pay      (from          the


                  proceeds)         the taxes,          assessments,                    sewer       rents,          or water      rates,         which         are,    or may         becorne,           liens         on


                  the property             in accordancc                with        their     priority         according           to law          with        such      interest        or penalties


                  which      may      have         lawfully           accrued           thereon          to the date            of payment;               and       it is further


                              ORDERED                  that     the Referee                 shall     deposit          the balance               of the        proceeds          from      the sale in his


                  or her own          name         as Referee            in an FDIC-insured                           bank      where        the Referee                has an accGüñt                 for that


                  purpose       and        shall    make        the following                  payments               in accordance               with         RPAPL            1354:


                            . 1.      The      Referee's              fees     for      condücting              the sale,        which           are $1,100.              Plaintiff        shall     also


                                     compensate                 the Referee                 in the sum              of $350      for·each           adjoúrnment                 or cancellation

                                                                                                          days'
                                     made          on less than               two       business                       notice      unless         the Referee              caused         the      delay.


                              2.     All      taxes,       assessments                  and     water         rates     that    are liens          upon         the property             and      monies


                                                           to redeem                the property              from      any      sales     for     unpaid             taxes,     am::=ards                 or
                                     necessary


                                     water         rates      and       any     other         amounts           due in accordance                    with          RPAPL            1354(2).         The




                   8s0274/2017 2386 HEMPSTEAD, 1NC. vs. 60 9iST STREET CORP.                                                                                                                 Page 6 of 10
                   MotionNo.003




                                                                                                          6     of      13


                                                                                                          11 of 19
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                                                                                        INDEX NO. 850274/2017
              NEW   YORK              COUNTY                                                                                                                                                         INDEX            NO.   850274/2017
  |FILED DOC.
NYSCEF     :   NO. 114                                         CLERK                    12      / 0 9 / 2 0 19                            10      : 13          AM|                RECEIVED NYSCEF: 12/23/2019
  N.YSCEF   DOC.   NO.   109                                                            .                                                                                       RECEIVED                     NYSCEF:            12/09/2019




                                purchaser            shall     be responsible                     for          interest        and penalties                accrued           after      the         sale.       The


                                Referee         shall        nbt    be responsible                     for          the payment                 of penalties           or fees         pursuant               to this       ,


                                appointment.                 The        purchaser              shall        hold        the Referee                harmless            from     any         such        pêñaitics


                                or fees                             .                                                     ..
                                              assessed;


                           3.   The        expenses          of the saÌe and the advertising                                         expe         ses as sliown               on the         bills         presented


                                and      certified       by the Referee                       to be correct,                   copies           of which          shall       be annexed                   td the


                                report       of sale.


                          4.    The      Referee        shall           also                to the Plaintiff                   or its attorneys.the                    following:                .
                                                                                  pay


                                      a.      Amount               Due         from         the Referee's                 Report:               $2,691,415.40              with        interest             at the
                                                                                                                                                                                                                                      ..

                                              note      rate from               April         30, 2019               until     entry            ofjudgment,.together                         with          any


                                              advances             as provided                  for     in the.note              and mortgage                    which         Plairitiff             had     made


                                              for     taxes,        insurance,                principal,               and interest               and      any    other       charges                due     to prior


                                              mortgages                 or to inniñtain                    the property                  pending          conen-mation                   of the


                                              foreclosure                 sale,       not     included               in the iumy-tation                         upon      presentation                 of receipts


                                              for     said     expendifures                    to the Referee,                   and then                with    interest         from           the    date         of


                                              entry      of.this          judgment              at the atatutory                         rate    until     the date        the deed               is transferred


                                      b.      Costs      and            Disbursements:                                                                                        (to be filled                  in by the


                                                             to Plaintiff               for    costs           and      disbursements                     in this      action         with        interest            at
                                              Clerk)          .                                            .
                                                                                                                                                                                                                 .                         .
                                             the      statutory            judgment              rate          from       the date              of entry        of this judgment;
      ..

                                      c.      The      Court            declines            to award                additional             allowance.

                                             Attorneys'                                                                                                                                 attorneys'
                                      d..                                Fees:        $20,000.00                    is hereby            awarded           as reasonable                                             fees


                                             with       interest           at the statutory                     judgment.rate                     from      the date          of entry            of this


                                             judgment.                    -.                                                         .                                                       .




                   850274/2017 2386HEMPSTEAD,1NC.vs.6091STSTREETCORP.                                                            .                                                           . Page7of10
                   MotionNo.003




                                                                                                       7       of      13


                                                                                                       12 of 19
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                                                                                               INDEX NO. 850274/2017
  LFILED DOC.
           :  NEW   YORK                        COUNTY                     CLERK                 12                        019              10                                                        NO. INDEX
                                                                                                                                                                                                          850274/2017
NYSCEF         NO. 114                                                                                   / 0 9 /2                                     : 13          AM|                     RECEIVED NYSCEF:  12/23/2019
  lTYSCEF   DOC.     NO.         109                                                                                                                                                      RECEIVED                  NYSCEF:            12/09/2019




     .                                                               .
                                    5.      Surplus        monies            from        the sàle shall            be paid           into      Court         by the Referee                     within          five       days


                                            after    receipt         in accordance                   with     RPAPL             1354(4);.and                 it is further                  .


                                    ORDERED                that      if Plaintiff             is the·purchaser                of the property,                    or in the event                      that    the rights


                      of the purchasers               at the sale                and the terms.of                 sale under            this     judgment                    slialf   be assigned               to or be


                     acquired            by Plaintiff,         and         a valid        assignment              is filed      with        the.Referee,                     the Referee               shall    not


                     require        Plaintiff        to pay        in c sh the entire                    amount         bid         at sale,      but     shall         execute            and deliver               to


                     Plaintiff         or its assignee,              a deed           or deeds         of the property                 sold       upon        the payment,to                      said         Referee            of


                     the amounts              specified           as 1, 2, and 3 above,                       and the Refe3ee                    shall       allow            Plaintiff         to pay         the


                     amóunts           specified         in 2.and            3 above           when         it is recording             the deed;             that           the balance            of the bid,


                     after       deducting          the amounts                  paid    by Plaintiff,            shall       be·applied               to the ainount                     due to Plaintiff                  as


                     specified           in 4 above;          that        Plaintiff        shall       pay    any, surplus              after         applying               die balance               of the        bid to


                     the Referee,             who     shall       deposit             it in accordance              with        5 above;              and it is further                    .


                                   ORDERED                 that      all.expenses                of recording              the Referee's                 deed,           i       luding         real     property


                     transfer       taxes,       which        is not         a.lien       upon        the property              at the time              of sale,             shall   be paid            by the


                     plaintiff         from     the sale proceeds;                      and it is further                                        ..


                                   ORDERED                 that      Plaintiff           may         seek    to recover             a deficiency              judgment                    in accordance                   ivith


                     RPAPL             1371     if applicable;

                                                                                                                                                              is"
                                   ORDERED                 that      if the property                  is sold      in one parcel                 in "as                 physical            order        and


                                          subject        to any          condition            that    an inspection                 of the.property                     would         disclose;           any        facts
                     condition,


                     that    an accurate            survey         of the         property            would       show;         any      covenants,.restrictions,                               declarations,


                                                                         right     of way,           and public           utility      agreements                   of record,              if any;           any
                     reservations,            easements,


                                       and zoning           ordinances                  of the municipality                   in which                the mortgaged                   property            is lbcated
                     building


                .. and possible               violations           of same;                     rights       of tenants             or persons            in possyssi                     n of the        subject
            .                                                                           any




                ,.    8502†4/2017 2386 HEMPSTEAD, INc. vs. 60 91ST STREET CORP.                                                                                     .                             . Page 8 of 10
                      MotIonNo.003




                                                                                                              8    of      13


                                                                                                              13 of 19
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                                                                                              INDEX NO. 850274/2017
                                                                                                                                                                                                                /                .    850274       2 017
NYSCEF DOC. NO. 114                                                                                                                                                                         RECEIVED NYSCEF: 12/23/2019
  NYSCEF       DOC.     NO.       109                                                                                                                                                     RECEIVED                NYSCEF:                 12/09/2019




                       property;           prior     liens      of record,           if any,         except             those         liens      addressed           in RPAK1354,                         any     equity         of


                       redemption             of the United                States        of America                 to redeem                  the property              within         120     days      from        the


                       date      of sale,      any     rights        pursuant            to CPLR                317,      2003          and      5015      or any          appeal         of the underlying


                       action       or additional             litigation          brought            by any             defendant               of its successor                  or assignee            contesting
           .   ..

                       the validity           of this        foreclosure;               and       it is further                                                      .


                                    ORDERED                   that     the purchaser                 be let into                 péssecsieñ.of               the property               upon        production              in


                      hand       of the Referee's                   Deed      or upon             personal              service          of tlie       Referee's            deed        in accordance               with


                       CPLR         308;      and it is further                               .


                                    ORDERED                   that     defendants                 in this        action          and         persons      claiming              through           them        and any


                      person        possessing           a junior            interest         in the p.roperty                       after     the Notice           of Pcñd©ñcy                   was    filed     are                .


                      bari·ed       and foreclacad                  of all    right,      claim,         lien,          title,        and      interest      in the property                  after      the sale of

                                                                                                            '                    .
                      the mortgaged                property;           and      it is further


                                    ORDERED                   that    within         14 days           after            completing               the sale         and      executing              the    proper


               .                                                                                                                                                                                                 the·
                      coñvcyâñcc              to the purchaser,                   the    Referee                shall     file        with      the clerk         a report         undei          oath     of


                      disposition           of the proceeds·of                    the     sale and               upload              the report.to         NYSCEF                  if it is an e-filed              case;


                      and     it is further


                                    ORDERED                  that     if the purchaser                  or purchasers                         at said     sale     default         upon,the             bid     or terms


                      of sale,      the Referee              may       place        the property                  for     resale         without          prior      application              to this         Court


                                                                                                                                                                   it is further              ·
                      unless      Plaintiff          s attorney            elects       to make             such         an application;                  and


                                    ORDERED                  that     Plaintiff          shall       serve         a copy              of this judgmcñt                  with      notice         of entry         upon


                      the owner         of the equity                of redemption,                   any         tenants             named        in this        action,         and     any      other        parties


                      entitled      to service,          includiñ              thè Referee               appointad.herein;                          and      it is further.




                       850274/2017 2386 HEMPSTEAD, INc. vs. 60 91ST STREET CORP.                                                                                                                         Page 9 of 10
                       Motion No. 003




                                                                                                                 9 of            13


                                                                                                                 14 of 19
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                                                                                      INDEX NO. 850274/2017
                                                                                                                                                                                                 INDEX
                                                                                                                                                                                                NO. 850274/2017
  [FILED
NYSCEF   DOC.
           :  NEW  YORK
               NO. 114                            COUNTY                      CLERK               12/09                 / 2 019             10       : 13                             RECEIVED NYSCEF:   12/23/2019
  NYSCEF   DOC.       NO.          109                                                                                                                                             RECEIVED               NYSCEF:           12/09/2019




                                     ORDERED                   that       acthiñg        herein       shall        be deemed             to relieve         Plaintiff             of any     obligation


                       imposed            by RPAPL              1307          or 1308       to secure             and        maintain        the property           until         ownership           of the


                      property            has been          transferred             and the deed              duly        recorded;          and it is further


                                     ORDERED                   that.when            the Referee             files        a report       of sale,        she or he shall               also    file    a


                      Foreclosure                Action        Surplus          Monies          Form        and also            upload        this     documcñt           to NŸSCEF                  if an e-


                      filed.case;.and                it is further                                                                                                            .


                                     ORDERED                   that    plaintiff          shalf     upload          the notice           of sale       to NYSCEF                   at least     21 days,


                      before        the sale and the Referee                            and plaintiff              shall       e-mail        SFC-Farcclasures@nyco,urts.gov                                        at


                      least       21 days         before        the    auction           date     so the auction                maybe            placed      on the       auction          calendar;          IF


                      THE AUCTION                         IS NOT              ON THE            CALENDAR,                      then     the auction          will       not       go forward;           and it is           .


                      further                        .                              .                                                                                         .


                                     ORDERED                   that,      without         further         order,of           the Court,          the referee        shall          be entitled        to an


                      additional           fee of $950              for       20ñducting            and     attcñdiñg            a closing           with    a purchascr              other     than


                      plaintiff,         plus,       if such       a closing            is sclieduled             for    the referee's             conference            room,         then     the referee


                      shall       be entitled            to a réâsoñabic                fee for      use thereof,               without          further·order           of the        Court.             .

                                                                                                                                      91st
                                     The       prcperty            is commonly               known          as 60 West                       Street,        New     York,           NY       10024.


                      Plaintiff          did   not       include       a legal          description           in its proposed                judgment            (NY                F Doc.                . 61).




                                         DATE                                                                                                               ARLE            P. BLUTH,          J.S.C.

                  .    CHECKONE:                                          X     CASEDISPOSED                                                  NeN-FINAL DISP.OSITION
                                                           .              X     GRANTED                                 DENIED                GRANTEDÎN PAR                                          OTilER
                       APPLICATl0N:                                             SETTLEORDER                                                   SUBMITORDER
                       CHECKIF AFFRGFRiATE:                                     INCLUDESTRANSFER/REASSIGN                               x     FIDUCIARYArru             n umenT                      REFERENCE          .




                                                                                                                                                                                                                   C LGRK

                       860274/2017 2386 HEMPSTEAD, INC.                                             SE        R              ORP.                                                                ge 10 of 10
                                      ·
                       Motion No. 003

                                                                                                                         pplcE
                                                                              COUNTY              CLERK'S
                                                                                            NEW YQRK



                                                                                                              10        of      13

                                                                                                              15 of 19
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                                                                INDEX NO. 850274/2017
                                                                                                                                                                          NO.
                                                                                                                                                                        INDEX 850274/2017
  |FILED: DOC. NEW
NYSCEF               YORK
                NO. 114                     COUNTY                CLERK                    12/09/2019              10:13                AM|                     RECEIVED NYSCEF:   12/23/2019
  NYSCEF   DOC.   NO.       109                                                                                                                            RECEIVED                 NYSCEF:    12/09/201·1




                   SUPREME            COURT        OF T.HE STATE                OF NEW YORK
                   COUNTY           OFNEWYORK

                     2386 HEMPSTEAD,                    INC.,
                                                                      Plaintiff
                                                                                                                                   BILL       OF COSTS

                                                                 -against-
                                                                                                                                   Index No.            850274/2017


                                                                                                                                   Justice:
                    60 91't        STREET         CORP.
                                                                                                                                   Hon. ARLENE                  P. BLUTH
                                                                      Defendants


                                                                                                                                                       - -
                                                               Defendant(s).                                                             1

                  ------------------------------------------                                                                                      f HEREBY             CERTlFY    THAT1HAVE
                                                                                                                                             AMSTED                    THIS  BILL OF COSTS
                                                                                                      COSTS                                                                                              AT
                                                                                                                                              $       /$-'Fo       -   oo
                                                                                                                             200.00-
                  Costs before Note of Issue(CPLR                8201(1))                                                $
                  Costs after proceedings              after note of issue filed but before trial                                                                  DEC-9                2019

                  Additional       Allowance        (CPLR§8302(a)1              on
                                                                                     2o - co
                                                                                                                                                                  /         .
                  10‰                    ...........................$      .                                                                       ///fffj¿ff
                  5‰...........................................S-see:ee-#o·oo
                                                                                                                                                   CLERK
                  2‰.....................                       .$9;669:66-          4O• P O
                                  ...          .. . .......... $·§;666:96-           50• 00
                  IoA
                                                                                                                   st /So     -o
                                                                                                                                   $ -8:999:99-
                  TOTAL         COSTS                                                                                    $-9;966-00


                                                                                             DISBURSEMENTS

                                                                                                                                   a 1400 •e0
                    Fee for Index number(CPLR                   8018(a)                                                            $ 4996-

                    Referee'sFees(CPLR                8301(a)(1),     8003, 8001(d) and 4321)                                        $ 350.00
                                                                                                             .                     t|• 25-o.oo
                    Paid for Searches (CPLR                8301(a)(10)                                                              9¬t9994


                    Serving copy sumtnons & Complaint                                                                                          .
                    (CPLR 8301© ) and 8301(d)                                                                                      $           .

                    Request for Judicial Intervention                                                                              $         95.00

                    Motion      Expenses(CPLR             8301(b) 2@ $45.00                                                         $     90.00

                    Referee fee to sell                                                                                            $·Pending.

                    Fees for Publication(CPLR                  8301(a)(3))                                           .              $.pending

                    TOTAL         DISBURSEMENTS                                                                                                                   ED*           O   O




                  C:\Users\nwoie\DesktopW0345-305687914\alan\DesktopDammentsv)rodsky\ForeclosuredMortimeMudgement\bill
                                                                                                      ofcosts.wpd




                                                                                                 11     of    13


                                                                                                 16 of 19
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                                          INDEX NO. 850274/2017
  |FILEDI DOC. NEW   YORK                   COUNTY               CLERK                                            10:13                             INDEX NYSCEF:
                                                                                                                                                           NO. 850274/201
NYSCEF          NO. 114                                                            12/09/2019                                 Aly              RECEIVED             12/23/2019
  NYS.CEF   DOC.    NO.        109                                                                                                           RECEIVED      NYSCEF:   12/09/201




                                                                                         SUMMARY

                    Costs                                                                                $ 8,200.00

                    Disbursements                                                             S 1.354.94
                    TOTAL                                                      .           .S 9,554.94




                   SUPREME            COURT       OF THE STATE            OF NEW YORK
                   COUNTY OFNEWYORK                                                       _ __--------
                   -------..------..-____-----....--..----_
                        2386 HEMPSTEAD,               INC.,
                                                                  Plaintiff
                                                                                                                           AFFHiMATION

                                                              -against-
                                                                                                                           Index No.       850274/2017
                                                                                                                           Justice:    •

                                                                                                                           Hon. ARLENE         P. BLUTH
                             91"
                        60          STREET      CORP,
                                                                  Defendants



                   ----------..-----..----___-----------_____--..----

                            ALAN M. WOLINSKY,           an attorney duly admitted to practice law in the courts of the State of New York,
                   under penalty of perjury duly affirms and says:


                   1.              That he is a shareholder of The Wolinsky Law Group, P.C. attorney of record for 2386 Hemps+ad Inc., the
                                   mortgagee in this foreclosui·e pmceeding,
                   2.              The foregoing disturacmcñts have been or will be necessarily incurred in this action and are reasonable in
                                   amount.
                   3.              That each of the persons named as witñcasca attended as a witness on the trial the number of days set opposite
                                   their names and each of these persons resided the number of miles set opposite their names, from the place of
                                   trial and each of these persons necessarily traveled the number of miles soset opposite their names in traveling
                                   to, and the same distance returning from the same place of trial.
               .   4.              That any copies of dee-men's           or papers as charged herein were actually and necessarily obtained for use.


                   DATED:          May 13 , 2019        Ronkonkoma,           New York




                                                                                               WO         SKY
                                                                                   THEWOLINS               L        GROUP, P.C.
                                                                                   160-02 Remingto             oulevard
                                                                                   Ronkonkoma, Ne          York 11779
                                                                                   (631)588-2900




                   C:\Users\awole\Desktop\00345-305687914\alan\Desktop\Documerd'2•a&VForeolosures\MS-éJ:d;;-==t\bill
                                                                                                        of costsspd




                                                                                         12     of   13

                                                                                         17 of 19
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                            INDEX NO. 850274/2017
                                                                                                                        INDEX    NO.   .850274/2017
  |FILED: DOC. NEW
NYSCEF               YORK
                NO. 114       COUNTY       CLERK        12/09/2019               10:13          AM)              RECEIVED NYSCEF: 12/23/2019
  NYSCEF   DOC.   NO.   109            .                                                                        RECEIVED     NYSCEF:    12/09/2019




                                              Index       No.        850274/2017




                                                Order        and          Judgment




                                                                                        FILE                      D
                                                                                        . bEc    o9      2o/9

                                                                                AT                       o:or                ·
                                                                                                                      #.5
                                                                                         CO.     CLK'S           OPPitSIE
                                                                                N.Y.,




                                                                13   of    13

                                                                18 of 19
FILED: NEW YORK COUNTY CLERK 12/20/2019 08:43 PM                                                                                                                                  INDEX NO. 850274/2017
NYSCEF DOC. NO. 114                                                                                                                                                  RECEIVED NYSCEF: 12/23/2019




           SUPREME             COURT                OF       THE            STATE        OF         NEW YORK
           NEW YORK                  COUNTUY
                                                                                                                                       Index     No:      850274/2017
           2386     HEMPSTEAD,                       INC.
                                                                                                                                       AFFIDAVIT                  OF
                                                         Plaintiff,                                                                    SERVICE



                       -against-




           60 91SST          STREET               CORP,


                                                   Defendants.




           STATE            OF NEW           YORK                       )
                                                                        ) ss.:
          COUNTY              OF NEW                 YORK)

          DEYANITH                  SKRIP,          being         duly         sworn,         deposes        and     says:


                       1,    I am      not        a party        to the        action,        am     over     18 years       of age      and     reside      in Richmond              County,
                             New       York.


                                                                             20th
                       2.    I certify            that      on    the                day       of   December            2019,         I served      the    Notice         of     Appeal,         the
                             Notice          of     Pre-Argument                      Statement             and    supporting           documents,              by     depositing          a true

                             copy        thereof            in post-paid,               properly          addressed          sealed      envelope          by     first-class        delivery,
                             in the      official            depository              within         New     York      City      and    State     under      the      exclusive       care     and

                             custody          of the           United          States         Postal      Service,      addressed          to the        following         persons         at the
                             last    known              address             of the    addressees            as follows:


                             The      Wolinsky                Law           Group,       P.C.
                             Attorneys            for       Plaintiff
                             160-02          Remington                  Boulevard

                             Ronkonkoma,                      New           York      11779

                             (631)       588-2900


                                                                                                                                               Deyanith         Ship


          Subscribed         and      sworn          to before               me
          on this                    of December,                     2019




          NOTARY




                                                                                                       19 of 19
     Exhibit F

(Preliminary Report)
September 3, 2020

Amy E. Vulpio, Esq.
White and Williams LLP
7 Times Square, Suite 2900
New York, NY 10036


Reference: Our File:        RANY-40759
           Seller(s):       60 91St Street Corp.
           Buyer(s):        TBD
           Lender:          TBD
           Premises:        60 West 91st Street, New York, NY 10024
                            Block: 1204 Lot: 54

Dear Amy,

Enclosed please find the most recently completed title report relative to the above referenced transaction for your
review.

Please contact this office should you have any questions or require the method of disposition for any exception set
forth herein.

Your coordinator on this file is Yisroel Stamm who can be reached via phone at 718-215-5135 or via email
at YStamm@rsabstract.com.

Sincerely,

Chana Klingman
Riverside Abstract, LLC

Notice to Buyer(s)/Borrower(s) and/or their agent(s): Please be advised that Riverside Abstract, LLC has
implemented a rate calculator for your convenience to enable you to calculate your title insurance premiums. This
website can be accessed at www.nyrates.fntg.com.




Title Report Cover Letter                                                                               RANY-40759
                                                                      CERTIFICATE FOR TITLE INSURANCE
AMTRUST TITLE INSURANCE COMPANY

Agrees to issue its standard form of insurance policy after the closing of the transaction in conformance with
procedures approved by the Company excepting (a) all loss or damage by reason of the estates, interests,
defects, objections, liens, encumbrances and other matters set forth herein that are not disposed of to the
satisfaction of the Company prior to such closing or issuance of the policy, and (b) any question or objection
coming to the attention of the Company before the date of closing, or if there be no closing, before the issuance of
said policy.

This Certificate shall be null and void (1) if the premium and related charges for the policy are not paid; (2) if the
prospective insured, his attorney or agent makes any untrue statement with respect to any material fact or
suppresses or fails to disclose any material fact or if any untrue answers are given to material inquiries by or on
behalf of the Company; or (3) upon delivery of the policy. Any claim arising by reason of the issuance hereof shall
be restricted to the terms and conditions of the standard form of title insurance policy. If the title, interest or lien to
be insured was acquired by the prospective insured prior to delivery hereof, the Company assumes no liability
except under its policy when issued.

THIS CERTIFICATE IS INTENDED FOR LAWYERS ONLY. SUCH EXCEPTIONS AS MAY BE SET FORTH
HEREIN MAY AFFECT MARKETABILITY OF TITLE. YOUR LAWYER SHOULD BE CONSULTED BEFORE
TAKING ANY ACTION BASED UPON THE CONTENTS HEREOF. THE COMPANY'S REPRESENTATIVE AT
THE CLOSING HEREUNDER MAY NOT ACT AS LEGAL ADVISORTO ANY OF THE PARTIES OR DRAW
LEGAL INSTRUMENTS FOR THEM. SUCH REPRESENTATIVE IS PERMITTED TO BE OF ASSISTANCE
ONLY TO AN ATTORNEY. IT IS ADVISABLE TO HAVE YOUR ATTORNEY PRESENT AT THE CLOSING.

IF ANY OF THE CLOSING INSTRUMENTS WILL BE OTHER THAN COMMONLY USED FORMS OR
CONTAIN UNUSUAL PROVISIONS, THE CLOSING CAN BE SIMPLIFIED AND EXPEDITED BY FURNISHING
THE COMPANY WITH COPIES OF THE PROPOSED DOCUMENTS IN ADVANCE OF CLOSING.

Dated: September 3, 2020

Redated:                                                     AMTrust Title Insurance Company

Riverside Abstract, LLC
3839 Flatlands Avenue, Suite 208
Brooklyn, NY 11234
TEL: (718) 252-4200                                           By:
FAX: (718) 252-4226                                                 Shaul Greenwald
                                                                    Authorized Signature
Report Created by: Chana Klingman




Certificate for Title Insurance                                                                                RANY-40759
                                     CERTIFICATE OF TITLE INSURANCE
                                               (Continued)

The following matters will be expressly excluded from the coverage of the policy, and the Company will not pay
loss or damage, costs, attorneys' fees, or expenses that arise by reason of:

1. a. Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning)
      restricting, regulating, prohibiting, or relating to
      i. the occupancy, use, or enjoyment of the Land;
      ii. the character, dimensions, or location of any improvement erected on the Land;
      iii. the subdivision of land; or:
      iv. environmental protection;
      v. or the effect of any violation of these laws, ordinances, or governmental regulations.
      This Exclusion 1(a) does not modify or limit the coverage provided under Covered Risk 5.
   b. Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under
      Covered Risk 6.

2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk
   7 or 8.

3. Defects, liens, encumbrances, adverse claims, or other matters
   a. created, suffered, assumed, or agreed to by the Insured Claimant;
   b. not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the
      Insured Claimant and not disclosed in writing to the Company by the Insured Claimant prior to the date the
      Insured Claimant became an Insured under this policy;
   c. resulting in no loss or damage to the Insured Claimant;
   d. attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage
      provided under Covered Risk 9 and 10 or loan policy 11 , 13 or 14) or
   e. resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for
      the Title.

4. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws,
   that the transaction vesting the Title as shown in Schedule A, is
   a. a fraudulent conveyance or fraudulent transfer; or
   b. a preferential transfer for any reason not stated in Covered Risk 9 of this policy.

5. Any lien on the Title for real estate taxes, assessments, water charges or sewer rents imposed by
   governmental authority and created or attaching between Date of Policy and the date of recording of the
   Insured Mortgage in the Public Records.

Loan Policy additional Exclusions:
1. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply
   with applicable doing-business laws of the state where the Land is situated.

2. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the
   transaction evidenced by the Insured Mortgage and is based upon usury or any consumer credit protection or
   truth-in-lending law.

The policy will except from coverage any state of facts which an accurate survey might show, unless a survey is
provided or survey coverage is available. When a survey is provided, this certificate will set forth the specific
survey exceptions which we will include in the Policy. Whenever the word "trim" is used in any survey exceptions
from coverage, it shall be deemed to include roof cornices, show window cornices, lintels, sills, window trim,
entrance trim, bay window cornices, moldings, belt courses, water tables, keystones, pilasters, porticos, balconies
all of which project beyond the street line.




Certificate for Title Insurance                                                                          RANY-40759
                     CONSUMER NOTICES AND DISCLOSURES AS REQUIRED
                         PURSUANT TO NEW YORK INSURANCE LAW

Date:       September 3, 2020

File No.:   RANY-40759

Property: 60 West 91st Street, New York, NY 10024

To:         TBD

These disclosure and Notices are for the purposes of compliance with New York Insurance Law and do not alter
or change the coverage’s, exceptions, exclusions, or conditions of the final policies issued in connection with the
subject transaction. Any person who knowingly and with intent to defraud any insurance company or other person
files an application for insurance or statement of claim containing any materially false information, or conceals for
the purpose of misleading, information concerning any fact material thereto, commits a fraudulent insurance act,
which is a crime, and shall also be subject to a civil penalty not to exceed five thousand dollars and the stated
value of the claim for each such violation.

THIS REPORT IS NOT A TITLE INSURANCE POLICY!

PLEASE REVIEW THIS REPORT WITH A REAL ESTATE PROFESSIONAL REPRESENTING YOUR
INTEREST IN THIS TRANSACTION. PLEASE READ IT CAREFULLY.

THE REPORT MAY SET FORTH EXCLUSIONS UNDER THE TITLE INSURANCE POLICY AND MAY NOT
LIST ALL LIENS, DEFECTS, AND ENCUMBRANCES AFFECTING TITLE TO THE PROPERTY. YOU SHOULD
CONSIDER THIS INFORMATION CAREFULLY.


                                                                                        Initial:




Consumer Notices and Disclosures                                                                          RANY-40759
                  NOTICE CONCERNING AVAILABILITY OF AN "OWNER'S" POLICY

Date:        September 3, 2020

To:          TBD

Title No:    RANY-40759

Please indicate if this transaction is a refinance ______ or a purchase ______.

Our records indicate that you are currently seeking a "Lender's" title insurance policy, not an "Owner's" title
insurance policy.

You have the option of purchasing an Owner's insurance policy. Please read the following disclosures concerning
"Lender's" and "Owner's" title insurance policies, and initial in the space provided to confirm that you have
read and understand the disclosures.

______ I acknowledge that the Lender's title insurance policy issued in connection with this financing provides
       insurance to the lender only and does not insure my interest in the property as the owner of the property.

______ I acknowledge that I understand that the Lenders' policy insures that the lender has a valid and
       enforceable encumbrance on the property that I own or that I am purchasing. An Owner's Policy, if
       purchased by me, would insure me and provide me with a legal defense against claims made against the
       title to the property. The Owner's policy would also protect my equity in the property and assure that
       marketability of the property when I sell it. Without an Owner's policy I do not get those protections.

I may obtain an Owner's Policy of Title Insurance which provides title insurance to me and the total premium for
both policies will be $TBD.

 I/We do request an Owner’s Extended Protection Policy (TOEPP) of title insurance.

 I/We do request a Standard Owner's Policy of title insurance.

 I/We do not request an Owner's Policy of title insurance.
TO BE SIGNED BY BUYER/BORROWER



Date


TBD

BY:________________________________




Notice Concerning Availability of an "Owner's" Policy                                                 RANY-40759
                        OPTIONAL MARKET VALUE POLICY RIDER AVAILABILITY

Title No.: RANY-40759

NOTE: THE FOLLOWING IS ONLY APPLICABLE TO THE PURCHASE OF A ONE TO FOUR FAMILY
DWELLING, A RESIDENTIAL CONDOMINIUM OR COOPERATIVE UNIT. THE PURCHASER MUST BE A
NATURAL PERSON AND MUST RESIDE AT THE PROPERTY WHICH MUST BE USED PREDOMINANTLY
FOR RESIDENTIAL PURPOSES.

Section 6049, Subdivision "C" of the Insurance Law requires that title companies' offer at or prior to closing an
optional policy rider to cover the homeowner for the future market value of his or her home. The Purchaser may,
for an additional premium, obtain a title policy in excess of the Purchase Price.

A. I choose to accept the Market Value Policy Rider.


      TBD

      BY:________________________________


B. I do not wish to accept the Market Value Policy Rider for future increased market value and elect to waive the
   offer for such additional coverage.


      TBD

      BY:________________________________


C. TO BE COMPLETED BY THE COMPANY CLOSER:

      The Optional Market Value Policy Rider is not applicable to this transaction.

      REASON:
       Commercial Property                                 Vacant Land
       Multiple Dwelling (consisting of 5 families or more)
       Purchaser is not a natural person (e.g. corporation, partnership, trust, etc.)
       Purchaser will not reside at dwelling

BY:
       Company Closer




Optional Market Value Policy Rider Availability                                                       RANY-40759
                                         RIVERSIDE ABSTRACT, LLC
                                                  As Agent for
                                       AMTRUST TITLE INSURANCE COMPANY
                                                    SCHEDULE A


Effective Date:     July 28, 2020                            Title No.: RANY-40759

Recertified Date:

Recertified By:

Policy and/or Policies to be issued:

ALTA Owner’s Policy with N.Y. Endorsement Modifications                               $TBD
   Proposed Insured: TBD

ALTA 2006 Loan Policy with N.Y. Endorsement Modifications                             $ TBD
   Proposed Insured: TBD

    Borrower:             TBD

The Estate or interest in the land described or referred to in this Certificate and covered herein is:

Fee Simple

THIS COMPANY CERTIFIES that a good and marketable title to the premises described in Schedule A, subject to
the liens, encumbrances and other matters, if any, set forth in this certificate may be conveyed and/or mortgaged
by:

60 91St Street Corp.

Title is Vested In:
As to one half interest:
60 91St Street Corp.* by deed from Anne Sowell, dated September 26, 1994 and recorded October 13, 1994 in
the Office of the City Register of the City of New York at Reel 2145, Page 2249.

As to one half interest:
60 91St Street Corp.* by deed from Yvonne Sowell n/k/a Yvonne Mortimer "as sole heir-at-law of" Arthur Sowell,
dated February 18, 2011 and recorded October 7, 2011 in the Office of the City Register of the City of New York
in CRFN 2011000355788.

*See Excepton 24

Title Recertified in:

The land referred to in this certificate is described as follows:

                                        SEE ATTACHED LEGAL DESCRIPTION




                                                 Riverside Abstract, LLC
                                            3839 Flatlands Avenue, Suite 208
                                                   Brooklyn, NY 11234
                                        TEL: (718) 252-4200 FAX: (718) 252-4226
Commitment (NY)                                                                                          RANY-40759
                                      RIVERSIDE ABSTRACT, LLC
                                              As Agent for
                                   AMTRUST TITLE INSURANCE COMPANY
                                         SCHEDULE A continued

Premises described in Schedule A are known as:


Address:   60 West 91st Street
           New York, NY 10024
           County: New York
                                               Block: 1204              Lot: 54

                  For any title clearance questions on this report please call: (718) 252-4200




                                             Riverside Abstract, LLC
                                        3839 Flatlands Avenue, Suite 208
                                               Brooklyn, NY 11234
                                    TEL: (718) 252-4200 FAX: (718) 252-4226
Commitment (NY)                                                                                  RANY-40759
                                        RIVERSIDE ABSTRACT, LLC
                                               As Agent for
                                    AMTRUST TITLE INSURANCE COMPANY
                                            LEGAL DESCRIPTION


                                                                                              Title No.: RANY-40759

All that certain plot, piece or parcel of land, situate, lying and being in the Borough of Manhattan, County of New
York, City and State of New York, bounded and described as follows:

BEGINNING at a point on the southerly line of West Ninety-First Street opposite the center of a party wall which
point is distant two hundred and forty-one feet easterly form the corner formed by the intersection of the southerly
line of Ninety-First Street with the easterly line of Columbus (formerly Ninth) Avenue;

RUNNING THENCE southerly parallel with Columbus (formerly Ninth) Avenue and partly through said party wall,
one hundred feet, eight and one-half inches to the center line of the block between West Nintieth and West
Ninety-First Streets;

THENCE easterly along said center line of the block; twenty feet to the point opposite the center of another party
wall;

THENCE northerly parallel with Columbus (formerly Ninth) Avenue and partly through the said last mentioned
party wall, one hundred feet, eight and one-half inches to the southerly line of West Ninety-First Street;

THENCE westerly along the southerly side of West Ninety-First Street, twenty feet to the point or place of
BEGINNING.

Note: Address, Block & Lot shown for informational purposes only

Designated as Block 1204, Lot 54, New York County and also known as 60 West 91st Street, New York, NY
10024.




                                               Riverside Abstract, LLC
                                          3839 Flatlands Avenue, Suite 208
                                                 Brooklyn, NY 11234
                                      TEL: (718) 252-4200 FAX: (718) 252-4226
Schedule A Description                                                                                     RANY-40759
                                        RIVERSIDE ABSTRACT, LLC
                                                As Agent for
                                     AMTRUST TITLE INSURANCE COMPANY
                                         CLOSING REQUIREMENTS


Title No.: RANY-40759

The following requirements must be met prior to issuance of any title policy:

1.       Closings should be scheduled at least two business days prior to the anticipated date of closing to provide
         ample time for the Company to provide continuation searches.

2.       All parties attending the closing will be required to furnish a photo driver's license or other
         photo-identification and social security numbers to the Company's representative at closing.

3.       This company does not accept personal checks for payment of any of its closing charges or fees. Only
         certified or bank checks, attorney escrow checks or wired funds will be accepted at closing. Under no
         circumstances will third party or seller's checks be accepted in any amount.

4.       The Company closer may not act as a legal adviser for any of the parties or draw any legal documents for
         any of the parties.

5.       Pay the agreed amounts for the interest in the land and/or according to the mortgage to be insured.

6.       Pay the Company the premium, fees and charges for and associated with the policy.

7.       Documents satisfactory to us creating the interest in the land and/or the mortgage to be insured must be
         signed, delivered and recorded.

8.       You must tell us in writing the name of any person or entity not referred to in this Commitment who will get
         an interest in the land or who will make a loan on the land. We may then make additional requirements or
         raise additional exceptions.

9.       Although the Company will use its best efforts to record instruments promptly, no liability is assumed for
         penalties and interest under section 1416 of the Tax Law due to the inability to file Transfer Tax Returns or
         to pay Transfer Taxes within the time required.

10.      Policy excepts any consequences that may arise due to the fact that the instruments submitted for
         recording are rejected by the County Clerk or Register because the instruments are illegible.

11.      If the conveyance and/or mortgage to be insured herein is to be made under Power of Attorney, Both the
         Power of Attorney AND a copy of the Principal's driver's license or passport must be submitted to the
         Company for approval PRIOR to closing. Further, proof is required that same has not been revoked and is
         still in full force and effect and that the Principal is living at the time of execution and delivery of the
         instruments.

12.      Borrower and lender must comply with the mortgage recording requirements of the New York State
         Department of Taxation and Finance. Every mortgage offered for recording must contain the following
         recital:
         "The real property [is or is not, whichever applies] principally improved or to be improved by one or more
         structures containing in the aggregate not more than six residential dwelling units, each dwelling unit
         having its own separate cooking facilities."
         NOTE: This recital may be stated on the mortgage instrument itself or it may be included by the
         attachment of a separate page to the mortgage signed by the person making the statement.

13.      Applicable Mortgage Recording Tax (or Affidavit of Exemption) is due at closing.


Closing Requirements                                                                                       RANY-40759
                                         CLOSING REQUIREMENTS cont.

14.      Deeds must contain the covenant required by Section 13 of the lien law and such covenant must be
         absolute and not conditional. These covenants are not required in deeds from referees or other duly
         appointed officials of the court for the sole purpose of selling the property.

15.      If any of the closing documents to be used at the closing are documents that are not commonly used or
         contain unusual provisions, a copy of the documents must be presented to the company's legal
         department prior to closing.

16.      If any part of the transaction consists of the conveyance or lease by a corporate grantor or lessor,
         compliance with Section 909 of the Business Corporation Law must be complied with. The written consent
         of the outstanding shareholders of the corporation will be required and the closing documents must recite
         same. In lieu thereof, the consent of two thirds of the outstanding shares entitled to vote must be obtained
         at a meeting duly noticed and called for in the manner provided for in Section 605 of the Business
         Corporation law and the closing document must recite same.

17.      When the transaction is an assignment of a mortgage or other lien, an estoppel certificate executed by the
         owner of the fee and by the holders of all subsequent encumbrances must be obtained. When the
         transaction is a mortgage, the amount actually advanced should be reported to the Company.

18.      If any part of the transaction consists of the making of a new mortgage by a corporate mortgagor,
         compliance with Section 911 of the Business Corporation Law must be established. A certified copy of the
         resolution of the Board of Directors authorized to make such mortgage will be required.

19.      A mortgagee's title insurance policy does not provide title insurance coverage to the fee owner. If you wish
         to obtain owners title insurance, you must request it at or before the closing and pay the required
         premium.




                                               Riverside Abstract, LLC
                                          3839 Flatlands Avenue, Suite 208
                                                 Brooklyn, NY 11234
                                      TEL: (718) 252-4200 FAX: (718) 252-4226
Closing Requirements                                                                                      RANY-40759
                                       RIVERSIDE ABSTRACT, LLC
                                               As Agent for
                                    AMTRUST TITLE INSURANCE COMPANY
                                                 SCHEDULE B
                                                 EXCEPTIONS


Title No.: RANY-40759

The following requirements must be met prior to the issuance of a policy.

a.       Pay the agreed amounts for the interest in the land and/or according to the mortgage to be insured.
b.       Pay the Company the premium, fees and charges for and associated with the policy.
c.       Documents satisfactory to us creating the interest in the land and/or the mortgage to be insured must be
         signed, delivered and recorded.

You must tell us in writing the name of any person or entity not referred to in this Commitment who will get an
interest in the land or who will make a loan on the land. We may then make additional requirements or raise
additional exceptions.

Hereinafter set forth are additional matters which will appear in our policy as exceptions from coverage. The
Company will not pay costs, attorneys' fees or expenses which arise by reason of the following exceptions unless
disposed of to the Company's satisfaction prior to the closing or delivery of the policy: Company reserves the right
to raise additional exceptions.

DISPOSITION

             1.    Taxes, tax liens, tax sales, water rates, sewer rents, and assessments set forth herein.

             2.    Rights of tenants or persons in possession, if any.

             3.    Mortgage(s) returned herein and set forth herein: (ONE, as consolidated) SEE ATTACHED
                   MORTGAGE SCHEDULE

             4.    Covenants, restrictions, easements, leases and agreements of record, etc., more fully set forth
                   herein:

                   A) Covenants and Restrictions recorded in Liber 2208 Page 182
                   B) Landmark Designation recorded in Reel 1696 Page 1872

             5.    Any encroachment, encumbrance, violation, variation or adverse circumstances affecting the
                   title that would be disclosed by an accurate and complete land survey of the land or Survey
                   exceptions as set forth herein. In the absence of a survey Company will not certify as to the
                   location or dimensions of within described premises on all sides, and will except any state of
                   facts an accurate survey may show.

             6.    FOR INFORMATION ONLY: Bankruptcy Searches run against the certified owner(s) and
                   purchaser(s), if any.

             7.    FOR INFORMATION ONLY: Patriot Searches run against the certified owner(s) and
                   purchaser(s), if any.




Exceptions                                                                                               RANY-40759
                                                EXCEPTIONS cont.

             8.    Searches were run for judgments, federal tax liens, minor liens, etc. against the same/similar
                   name as 60 91St Street Corp. The following returns were found of record and must be
                   satisfactorily disposed of:

                   A) 5 Judgments and 3 ECBs vs. 60 91St Street Corp.


             9.    If any of the mortgages shown in the mortgage schedule herein is to be paid off at closing, then
                   a written statement from the mortgagee indicating the balance and that the account is closed
                   must be presented. Failure to provide this statement may cause the closing to be adjourned.

             10.   If any of the mortgages shown in the mortgage schedule herein have been paid off prior to
                   closing, the certified owner must produce the original Satisfaction(s) of said mortgage(s), or in
                   the alternative, the name of the title company who handled the payoff and their title number in
                   connection therewith.

             11.   FOR NYC ONLY: Policy excepts Emergency Repair Liens and charges which may exist but are
                   not filed. There may be work in progress or completed work and such items can not effectively
                   be determined due to the delay in entering such items.

             12.   Satisfactory proof by affidavit must be furnished showing whether any work has been done upon
                   the premises by The City of New York, or any demand has been made by The City of New York
                   for any such work that may result in:
                   A) Charges by the New York City Department of Rent and Housing Maintenance Emergency
                   Services.
                   B) Charges by the New York City Department of Health.
                   C) Charges by the New York City Department of Environmental Protection.

             13.   Section 26-128 of the Administrative Code of The City of New York, creates tax liens for unpaid
                   Inspection Fees and Permit Fees billed by the Building Department and Fire Department
                   regardless of the fact that such fees may not be reflected in the City Collector's records. Policy
                   excepts any loss, claim or damage for any unpaid fee or charge claimed by the Building
                   Department or Fire Department and entered in the records of the City Collector after the date of
                   closing.

             14.   FOR INFORMATION ONLY: The City of New York requires the owners of certain income
                   producing properties to file a Real Property Income and Expense ("RPIE") form with the City's
                   Department of Finance annually. If the property owner does not file the RPIE form or files the
                   form late, then the Department of Finance may assess a penalty of 3 to 5 percent of the
                   property's final assessed valuation. The penalty will appear on the owner's real property tax bill.
                   Because there may be significant time lag between the due date for the RPIE form and the date
                   on which the penalty and interest appear on the tax bill, the policy will except and not cover any
                   and all RPIE charges, fees and penalties which may be assessed by the Department of Finance
                   against the property or its owner after the date of the title policy.

             15.   All taxes, water, sewer rent charges and other miscellaneous assessments not entered prior to
                   date of closing, which might include charges for use prior to the date of the policy.

             16.   If the subject premises are currently benefited by a tax exemption, discount, credit or
                   abatement, no liability is assumed for the retroactive restoration of any taxes due to a loss or
                   reversal, partial or total, of said exemption, discount, credit or abatement. Any tax which may be
                   assessed, entered, re-opened, or restored after Date of Policy for periods prior to Date of Policy
                   is not insured.



                                               Riverside Abstract, LLC
                                           3839 Flatlands Avenue, Suite 208
                                                 Brooklyn, NY 11234
Exceptions                                                                                                 RANY-40759
                                                 EXCEPTIONS cont.

             17.   If the subject premises consists of 6 units or more and is rent stabilized, this policy excepts any
                   rent stabilization fees not transferred to the NYC Department of Finance as of the date of
                   closing. Any fee which may be assessed or entered subsequently by the City is not insured.

             18.   If subject property is used for both residential and commercial use, and the total purchase price
                   is in excess of $1,000,000.00. New York State Department of Taxation and Finance may
                   impose Mansion Tax on the residential portion of said property. This policy does not insure any
                   such tax, nor any penalties related thereto, which may be assessed or entered subsequently by
                   the State.

             19.   NOTE: For any closing exceeding two hours or that extends past 5:00pm a minimum charge of
                   $250 will apply.

             20.   In the event that escrow is being held for taxes, water/sewer charges, the liability of this
                   Company shall be limited to the sum deposited in escrow.

             21.   The proposed closing transaction may be subject to the reporting requirements set forth in the
                   confidential Geographic Targeting Order issued pursuant to the Bank Secrecy Act, therefore the
                   Company Reserves the rights to require additional information and documentation in order to
                   comply with the order.

             22.   Note to Seller / Seller Representative: Please note that the title closer may charge up to $250
                   for each mortgage payoff “pickup fee” that they will be processing.

             23.   Department of State search shows that the entity 60 91St Street Corp. was dissolved by
                   proclamation on July 29, 2009. Said entity must be reinstated or a corporate wind down deed
                   can be done. Pls contact legal dept to discuss.

             24.   Order from the Bankruptcy Court confirming that the 60 91st Street Corp. [old entity] was
                   dissolved and 60 91st Street Corp. [new entity] is to be considered the old entity’s successor.
                   Certified copy of the Order must be filed on Acris.

             25.   Proof of the following as to 60 91St Street Corp.:

                   A) Certificate of Incorporation;
                   B) Production of Certificate of Good Standing;
                   C) Production of Corporate Resolution authorizing the conveyance or mortgage
                   D) Certificate of Secretary certifying that the Certificate of Incorporation does not require
                   stockholders consent


             26.   Proof by affidavit must be provided to company at the time of closing that there are currently no
                   New York State Franchise Taxes due and owing against 60 91St Street Corp.

             27.   Proof of payment of New York City General Corporation Tax on 60 91St Street Corp. is
                   required. Said proof must cover the period from date of incorporation to date of closing.

             28.   Proof is required that the person executing the instruments on behalf of said corporation has the
                   power to bind said corporation in this transaction. A Directors Resolution or Shareholders
                   Resolution should be provided.




                                               Riverside Abstract, LLC
                                           3839 Flatlands Avenue, Suite 208
                                                 Brooklyn, NY 11234
Exceptions                                                                                                   RANY-40759
                                                EXCEPTIONS cont.

             29.   If the present transaction consists in whole or in part of the making of a new mortgage, the
                   mortgage should contain a recital showing that it was made and executed pursuant to the
                   resolution of the board of directors of the mortgagor.

             30.   If the present transaction consists in whole or in part of a conveyance or lease by a corporate
                   grantor or lessor, the instrument on closing should recite that the lease/conveyance was made
                   with consent thereto by all of the holders of the outstanding shares of the said corporation; or, in
                   the ordinary course of the corporations business.

             31.   Sidewalk violation filed on February 25, 2010 at Index Number 82194.

                   NOTE (FOR MORTGAGE POLICIES ONLY): Although this item is provided for information only
                   and will not appear in our mortgage policy, failure to repair sidewalk (or remove violation) may
                   result in a future lien against which the policy does not protect. (See chapter 28-A, Title A,
                   Section 693-6.0, Administrative Code of the City of New York.)

             32.   Bankruptcy report shows open Case Number 1:2020bk10338. Approval of trustee must be
                   obtained prior to sale or the Court must grant an order approving the sale of the property to the
                   purchaser with no liens. If such order is obtained, the deed delivered at closing must state that
                   the conveyance is free and clear of all liens as set forth in the Bankruptcy Court.
                   NOTE: Upon receipt of final order of the court additional exceptions may be raised.


             33.   Proof of death and heirship of Arthur Sowell to be obtained and considered.

             34.   The last deed of record recorded in CRFN 2011000355788 was a transfer for no
                   consideration. In connection therewith, the following documentation must be reviewed by this
                   Company prior to closing. (NOTE: Upon receipt and review, additional exceptions to title may be
                   raised):

                   A) Affidavit from the attorney who supervised the execution and delivery of the deed and/or;
                   B) Affidavit from the grantor(s) confirming the conveyance and a copy of photo identification of
                   said grantor(s).

             35.   Proof is required that the delivery of the deed dated February 18, 2011 and recorded on October
                   7, 2011 in CRFN 2011000355788 was during the lifetime of Yvonne Sowell n/k/a Yvone
                   Mortimer "as sole heir-at-law of" Arthur Sowell, grantor.

             36.   The consolidated mortgage recorded December 9, 2016 in CRFN 2016000435775 is a
                   non-institutional mortgage. If said mortgage is to be satisfied in the transaction to be insured
                   herein the following must be surrendered to the Company at or prior to closing.
                     a) original note and bond marked "paid";
                     b) original mortgage marked "paid";
                     c) original Satisfaction of Mortgage in recordable form.

             37.   A UCC-1 Financing Statement vs. 60 91st Street Corp. in favor of Approved Oil Co. recorded
                   on March 6, 2019 in CRFN 2019000074584.




                                               Riverside Abstract, LLC
                                           3839 Flatlands Avenue, Suite 208
                                                 Brooklyn, NY 11234
Exceptions                                                                                                  RANY-40759
                              RIVERSIDE ABSTRACT, LLC
                                       As Agent for
                            AMTRUST TITLE INSURANCE COMPANY

                                  SURVEY READING

Title No.: RANY-40759

See Schedule B Exceptions




Survey Reading                                                RANY-40759
                                                RIVERSIDE ABSTRACT, LLC
                                                       As Agent for
                                            AMTRUST TITLE INSURANCE COMPANY

                                                    MORTGAGE SCHEDULE


1.        MORTGAGE
          Mortgagor:                60 91St Street Corp.
          Mortgagee:                2386 Hempstead Inc.
          Amount:                   $1,400,000.00
          Dated:                    August 13, 2015
          Recorded:                 August 31, 2015
          CRFN:                     2015000301919
          Tax Paid:                 $39,200.00

          Notes:
          Together with a Collateral Assignment of Leases and Rents recorded in CRFN 2015000301920.

2.        GAP MORTGAGE
          Mortgagor:                60 91St Street Corp.
          Mortgagee:                2386 Hempstead Inc.
          Amount:                   $300,000.00
          Dated:                    October 3, 2016
          Recorded:                 December 9, 2016
          CRFN:                     2016000435774
          Tax Paid:                 $6,150.00

2A.       CONSOLIDATION, EXTENSION, AND MODIFICATION AGREEMENT
          From:      60 91St Street Corp.
          To:        2386 Hempstead Inc.
          Dated:     October 3, 2016
          Recorded:  December 9, 2016
          CRFN:      2016000435775

          Notes:
          This Agreement consolidates Mortgages 1 and 2 above to form a single lien in the amount of
          $1,700,000.00.




This title report does not show all the terms and provisions of the mortgage(s) set forth herein. Interested parties should contact the holder(s)
thereof to ascertain the terms, covenants and conditions contained therein, and to determine if there are any unrecorded amendments or
modifications thereto.

If the mortgage(s) shown herein is (are) held by an institutional lender, a payoff letter MUST be produced and said letter MUST be verified by
the title closer via telephone at the time of closing

Mortgage Schedule                                                                                                                  RANY-40759
                            The unpaid taxes, water rates, assessments and other matters relating to taxes
MDSNY                       which are liens at the date of this certificate are set forth below.
CODE: BETTER                                          TITLE: RANY-40759                                                                DATE:          08/11/2020
CNTY: NEW YORK                                        COMPANY: BETTER RESEARCH
SEC:  4     VOL: 8
BLOCK: 1204    LOT:                           54

                                                                           TAX MAP ATTACHED
TAX                               2020/2021 FINAL
CLASS: 2B     RATE: 12.473
BLDG                TRANSITIONAL LAND .................                                                                                                 $114,202.00
CLASS: C5           TRANSITIONAL TOTAL ................                                                                                                 $658,815.00
CONVERTED           EXEMPT TOTAL ......................                                                                                                       $0.00
DWELLINGS OR        ACTUAL LAND .......................                                                                                                 $364,050.00
ROOMING HOUSE
                    ACTUAL TOTAL ......................                                                                                               $2,100,150.00
SWIS CODE: 620100 ACTUAL EXEMPT TOTAL ...............                                                                                                         $0.00
                    EXEMPTIONS: NO EXEMPTIONS
                    ASSESSED OWNER: 60 91ST STREET CORP.
                    60 WEST 91 STREET

Taxes 2020/2021    1ST HALF     Due Date                                             07/01/2020    REAL ESTATE
Transaction Date                                                                           Charges/Adjustments   Payments/Adjustments
06/06/2020    TAX ORG                                                                               $41,087.00                  $0.00
                    AMOUNT DUE:                                                                     $41,087.00 OPEN

Taxes 2020/2021    2ND HALF     Due Date                                              01/01/2021    REAL ESTATE
Transaction Date                                                                            Charges/Adjustments   Payments/Adjustments
06/06/2020    TAX ORG                                                                                $41,087.00                  $0.00
                    AMOUNT DUE:                                                                      $41,087.00 OPEN

HPD MULTI DWELLING REGISTRATIO Due Date                                              07/01/2020
06/06/2020    SAF ORG                                                                                                      $13.00                                      $0.00
                    AMOUNT DUE:                                                                                            $13.00 OPEN

Taxes 2019/2020    1ST HALF     Due Date                                             07/01/2019    REAL ESTATE
Transaction Date                                                                           Charges/Adjustments   Payments/Adjustments
06/01/2019    TAX ORG                                                                               $40,257.14                  $0.00
                    AMOUNT DUE:                                                                     $40,257.14 OPEN

Taxes 2019/2020    2ND HALF     Due Date                                             01/01/2020    REAL ESTATE
Transaction Date                                                                           Charges/Adjustments   Payments/Adjustments
06/01/2019    TAX ORG                                                                               $40,257.14                  $0.00
01/01/2020    TAX ADJ MID YEAR TAX CHG                                                                   $0.00                $887.40
                    AMOUNT DUE:                                                                     $39,369.74 OPEN

HPD MULTI DWELLING REGISTRATIO Due Date                                              07/01/2019
06/01/2019    SAF ORG                                                                                                      $13.00                                      $0.00
                    AMOUNT DUE:                                                                                            $13.00 OPEN

Taxes 2018/2019    1ST HALF    Due Date                                              07/01/2018    REAL ESTATE
Transaction Date                                                                           Charges/Adjustments                                Payments/Adjustments
06/01/2018    TAX ORG INIT CHG                                                                      $37,591.44                                               $0.00
11/28/2018    INT ADJ                                                                                    $1.13                                               $0.00

NOTE: SECOND HALF TAXES SUBJECT TO CHANGE DUE TO TAX RATE ADJUSTMENT. RESPONSIBILITY LIMITED TO THOSE ITEMS AND INSTALLMENTS THAT ARE LIENS AS OF DATE OF THIS
REPORT AND REFLECT ON THE PUBLIC RECORDS. TAX SEARCH DOES NOT COVER ANY PART OF THE STREETS ON WHICH THE PREMISIS TO BE INSURED ABUT. RECENT PAYMENTS MAY BE SUBJECT
TO COLLECTION. TAX EXEMPTIONS NOTED ABOVE MAYBE RESTORED ON THE DATE OF CONVEYANCE OR UPON DEATH OF RECORD OWNER. TAX SEARCH DOES NOT GUARANTEE AGAINST ANY CLAIMS
RESULTING FROM LEVIES OF RESTORED TAXES. ACCURATE WATER METER READING REQUIRED FOR THOSE REPORTED AS MINIMUM, ACTUAL, ESTIMATED AND MULTIPLE READINGS TO AVOID
ADDITIONAL CHARGES. TAX SEARCH DOES NOT GUARANTEE AGAINTS NEW METERS OR UNFIXED FRONTAGE CHARGES NOT ON RECORD IN THE DEPARTMENT OF ENVIRONMENTAL PROTECTION. THE
RETURNS ARE GURANTEED TO BLOCK AND LOT.
* PLEASE REQUEST THE SELLER OR BORROWER TO HAVE RECEIPTED BILLS AT THE CLOSING *


                                                                           Page 1 of 4                                      3597214                            11858810
                            The unpaid taxes, water rates, assessments and other matters relating to taxes
MDSNY                       which are liens at the date of this certificate are set forth below.
CODE: BETTER                                          TITLE: RANY-40759                                                                DATE:          08/11/2020
CNTY: NEW YORK                                        COMPANY: BETTER RESEARCH
SEC:  4     VOL: 8
BLOCK: 1204    LOT:                           54

11/20/2018                 INT     ADJ                                                                              $1,300.86                                         $0.00
11/20/2018                 CHG     PAY                                                                                  $0.00                                    $13,699.14
11/28/2018                 CHG     PAY                                                                                  $0.00                                        $11.87
11/28/2018                 INT     PAY                                                                                  $0.00                                         $1.13
11/20/2018                 INT     PAY                                                                                  $0.00                                     $1,300.86
                                     AMOUNT DUE:                                                                   $23,880.43 OPEN

Taxes 2018/2019    2ND HALF     Due Date                                             01/01/2019    REAL ESTATE
Transaction Date                                                                           Charges/Adjustments   Payments/Adjustments
06/01/2018    TAX ORG INIT CHG                                                                      $37,591.44                  $0.00
11/16/2018    TAX ADJ TAXRATEDEC                                                                         $0.00                $632.48
                    AMOUNT DUE:                                                                     $36,958.96 OPEN

DEPT OF HEALTH EXTERMINATION    Due Date                                             10/01/2018
06/30/2018    SAC ORG INIT CHG                                                                                            $93.75                                       $0.00
06/30/2018    SAT ORG SALES TAX                                                                                            $8.32                                       $0.00
                    AMOUNT DUE:                                                                                          $102.07 OPEN

DEPT OF HEALTH EXTERMINATION    Due Date                                             10/01/2018
07/31/2018    SAC ORG INIT CHG                                                                                            $93.75                                       $0.00
07/31/2018    SAT ORG SALES TAX                                                                                            $8.32                                       $0.00
                    AMOUNT DUE:                                                                                          $102.07 OPEN

DEPT OF HEALTH EXTERMINATION    Due Date                                              10/01/2018
07/31/2018    SAC ORG INIT CHG                                                                                             $62.50                                      $0.00
07/31/2018    SAT ORG SALES TAX                                                                                             $5.55                                      $0.00
                    AMOUNT DUE:                                                                                            $68.05 OPEN

DEPT OF HEALTH EXTERMINATION    Due Date                                             10/01/2018
08/15/2018    SAC ORG INIT CHG                                                                                            $93.75                                       $0.00
08/15/2018    SAT ORG SALES TAX                                                                                            $8.32                                       $0.00
                    AMOUNT DUE:                                                                                          $102.07 OPEN

R5                                                           Due Date                10/01/2018
06/15/2018                 SAC ORG INIT CHG                                                                                $85.50                                      $0.00
06/15/2018                 SAT ORG SALES TAX                                                                                $7.59                                      $0.00
                                 AMOUNT DUE:                                                                               $93.09 OPEN

* ALL PAYMENTS SUBSEQUENT TO 7/10/2020 ARE SUBJECT TO COLLECTION.


**PLEASE NOTE PROPERTY SHOWS ON 2020 TAX LIEN SALE LIST. DUE TO COVID-19 THE
LIEN SALE SET TO TAKE PLACE ON MAY 15TH HAS BEEN DELAYED. THE 2020 LIEN SALE
IS NOW SET TO TAKE PLACE SEPTEMBER 4TH 2020. PLEASE HAVE ALL PAYMENTS MADE TO
DOF/DEP NO LATER THAN AUGUST 31ST 2020. **


**DEPARTMENT OF FINANCE RECORDS SHOW TAX LIEN(S) SOLD IN 2009 & 2010 WERE
REDEEMED.**

NOTE: SECOND HALF TAXES SUBJECT TO CHANGE DUE TO TAX RATE ADJUSTMENT. RESPONSIBILITY LIMITED TO THOSE ITEMS AND INSTALLMENTS THAT ARE LIENS AS OF DATE OF THIS
REPORT AND REFLECT ON THE PUBLIC RECORDS. TAX SEARCH DOES NOT COVER ANY PART OF THE STREETS ON WHICH THE PREMISIS TO BE INSURED ABUT. RECENT PAYMENTS MAY BE SUBJECT
TO COLLECTION. TAX EXEMPTIONS NOTED ABOVE MAYBE RESTORED ON THE DATE OF CONVEYANCE OR UPON DEATH OF RECORD OWNER. TAX SEARCH DOES NOT GUARANTEE AGAINST ANY CLAIMS
RESULTING FROM LEVIES OF RESTORED TAXES. ACCURATE WATER METER READING REQUIRED FOR THOSE REPORTED AS MINIMUM, ACTUAL, ESTIMATED AND MULTIPLE READINGS TO AVOID
ADDITIONAL CHARGES. TAX SEARCH DOES NOT GUARANTEE AGAINTS NEW METERS OR UNFIXED FRONTAGE CHARGES NOT ON RECORD IN THE DEPARTMENT OF ENVIRONMENTAL PROTECTION. THE
RETURNS ARE GURANTEED TO BLOCK AND LOT.
* PLEASE REQUEST THE SELLER OR BORROWER TO HAVE RECEIPTED BILLS AT THE CLOSING *


                                                                           Page 2 of 4                                      3597214                            11858810
                            The unpaid taxes, water rates, assessments and other matters relating to taxes
MDSNY                       which are liens at the date of this certificate are set forth below.
CODE: BETTER                                          TITLE: RANY-40759                                                                DATE:          08/11/2020
CNTY: NEW YORK                                        COMPANY: BETTER RESEARCH
SEC:  4     VOL: 8
BLOCK: 1204    LOT:                           54



**DUE TO NEW YORK STATE SUPREME COURT RULING, ACCESS TO DEP RECORDS IS
CURRENTLY UNAVAILABLE TO ALL RESEARCH COMPANIES.
THE FOLLOWING INFORMATION HAS BEEN ABSTRACTED FROM AVAILABLE ONLINE RECORDS,
FURTHER INFORMATION AND/OR ACCOUNT DETAILS CANNOT BE PROVIDED AT THIS TIME.
PLEASE CONTACT DEP AT 718-595-7000 FOR ADDITIONAL INFORMATION.



**MUNICIPAL DATA CAN STILL ASSIST IN SCHEDULING FINAL METER READINGS. PLEASE
CONTACT US AT 718-815-0707 OR CONTACT DEP DIRECTLY AT 718-595-7000 ALL
READINGS SHOULD BE SCHEDULED 30 DAYS PRIOR TO CLOSING**


PLEASE PRODUCE BILLS/RECEIPTS AT CLOSING***


D.E.P. ACCOUNT #5000125648001


TOTAL DUE ON DEP ACCOUNT $7,174.15 OPEN



NOTE: ALL PROPERTIES ARE SUBJECT TO REBILLING BY DEP UNLESS A TITLE READ IS ORDERED THIRTY
DAYS PRIOR TO CLOSING.

PAYMENT INFORMATION
-------------------
MAIL PAYMENT TO:
NYC DEPARTMENT OF FINANCE (DOF)
P.O. BOX 680
NEWARK, NJ 07101-0680
MAKE CHECKS PAYABLE TO: NYC DEPARTMENT OF FINANCE

MAIL PAYMENT TO
NYC WATER BOARD (DEP)
P.O. BOX 11863
NEWARK, NJ 07101-8163
MAKE CHECKS PAYABLE TO: NYC WATER BOARD


NOTE: A SPECIAL METER READING SHOULD BE OBTAINED ON ALL ACCOUNTS TO AVOID ADDITIONAL CHARGES.

SUBJECT TO CONTINUATION PRIOR TO CLOSING.
NOTHING ELSE FOUND 08/11/2020


NOTE: SECOND HALF TAXES SUBJECT TO CHANGE DUE TO TAX RATE ADJUSTMENT. RESPONSIBILITY LIMITED TO THOSE ITEMS AND INSTALLMENTS THAT ARE LIENS AS OF DATE OF THIS
REPORT AND REFLECT ON THE PUBLIC RECORDS. TAX SEARCH DOES NOT COVER ANY PART OF THE STREETS ON WHICH THE PREMISIS TO BE INSURED ABUT. RECENT PAYMENTS MAY BE SUBJECT
TO COLLECTION. TAX EXEMPTIONS NOTED ABOVE MAYBE RESTORED ON THE DATE OF CONVEYANCE OR UPON DEATH OF RECORD OWNER. TAX SEARCH DOES NOT GUARANTEE AGAINST ANY CLAIMS
RESULTING FROM LEVIES OF RESTORED TAXES. ACCURATE WATER METER READING REQUIRED FOR THOSE REPORTED AS MINIMUM, ACTUAL, ESTIMATED AND MULTIPLE READINGS TO AVOID
ADDITIONAL CHARGES. TAX SEARCH DOES NOT GUARANTEE AGAINTS NEW METERS OR UNFIXED FRONTAGE CHARGES NOT ON RECORD IN THE DEPARTMENT OF ENVIRONMENTAL PROTECTION. THE
RETURNS ARE GURANTEED TO BLOCK AND LOT.
* PLEASE REQUEST THE SELLER OR BORROWER TO HAVE RECEIPTED BILLS AT THE CLOSING *


                                                                           Page 3 of 4                                      3597214                            11858810
                            The unpaid taxes, water rates, assessments and other matters relating to taxes
MDSNY                       which are liens at the date of this certificate are set forth below.
CODE: BETTER                                          TITLE: RANY-40759                                                                DATE:          08/11/2020
CNTY: NEW YORK                                        COMPANY: BETTER RESEARCH
SEC:  4     VOL: 8
BLOCK: 1204    LOT:                           54
MUNICIPAL DATA SERVICES SHALL BEAR NO LIABILITY For ERRONEOUS Or INACCURATE
INFORMATION PROVIDED BY THE DEPARTMENT Of FINANCE INCLUDING BUT Not LIMITED To ERRORS
DUE To LOADING, KEY ENTRY, PROCESSING, DATA COMMUNICATION,HARDWARE And SOFTWARE PROBLEMS
Or THE BACKDATING Of ANY INFORMATION.




NOTE: SECOND HALF TAXES SUBJECT TO CHANGE DUE TO TAX RATE ADJUSTMENT. RESPONSIBILITY LIMITED TO THOSE ITEMS AND INSTALLMENTS THAT ARE LIENS AS OF DATE OF THIS
REPORT AND REFLECT ON THE PUBLIC RECORDS. TAX SEARCH DOES NOT COVER ANY PART OF THE STREETS ON WHICH THE PREMISIS TO BE INSURED ABUT. RECENT PAYMENTS MAY BE SUBJECT
TO COLLECTION. TAX EXEMPTIONS NOTED ABOVE MAYBE RESTORED ON THE DATE OF CONVEYANCE OR UPON DEATH OF RECORD OWNER. TAX SEARCH DOES NOT GUARANTEE AGAINST ANY CLAIMS
RESULTING FROM LEVIES OF RESTORED TAXES. ACCURATE WATER METER READING REQUIRED FOR THOSE REPORTED AS MINIMUM, ACTUAL, ESTIMATED AND MULTIPLE READINGS TO AVOID
ADDITIONAL CHARGES. TAX SEARCH DOES NOT GUARANTEE AGAINTS NEW METERS OR UNFIXED FRONTAGE CHARGES NOT ON RECORD IN THE DEPARTMENT OF ENVIRONMENTAL PROTECTION. THE
RETURNS ARE GURANTEED TO BLOCK AND LOT.
* PLEASE REQUEST THE SELLER OR BORROWER TO HAVE RECEIPTED BILLS AT THE CLOSING *


                                                                           Page 4 of 4                                      3597214                            11858810
                                                .       Property Information         Apply for Exemptions     Get Help


                                     Property Address Search                    BBL Search                   REUC Search


Property Info
                            60 WEST 91 STREET                                                                   Borough: MANHATTAN
Account Balance                                                                                                     Block: 1204 Lot: 54
                                                                                                                                                  1 of 1
Account History                  08/10/2020               Update Values

Payment History                                                                                                                                Actions
                                                                                                                                            Printable
Refund History
                                                                                                                                          Summary
                            Account Balance Summary                                                                                         Printable Version
Notices of Property Value
Property Tax Bills                                                                                                                              More Info
                              Year                  Charge Amt.           Discount         Interest         Other/Fees           Total
                                                                                                                                          FAQ
Benefits - Prop. Owners       2019                    61,268.64               0.00        23,619.41              38.10       84,926.15
                              2020                    79,626.88               0.00        13,475.17              13.00       93,115.05
Benefits - Business &
Construction                  2021                    82,174.00               0.00           818.33              13.00       83,005.33
                                                                                                                                            Printable Version
                               Total:                223,069.52               0.00        37,912.91              64.10      261,046.53
Benefits - Gov & Non-Prof
Market Values &             Account Balance Details
Assessments
                                               Charge Account                      Charge
   2020-2021 Final          Year Period                        Due Date                    Discount Interest Other/Fees      Total
                                                Type    ID                            Amt.
   2020-2021 Tentative      2019        1       TAX           07/01/2018         23,880.43     0.00 11,043.94       0.00 34,924.37
                            2019        2       DOH           10/01/2018             93.75     0.00     37.28       8.32    139.35
   2019-2020 Final
                            2019        2       DOH           10/01/2018             93.75     0.00     37.28       8.32    139.35
   Prior Years              2019        2       DOH           10/01/2018             62.50     0.00     24.85       5.55     92.90
                            2019        2       DOH           10/01/2018             93.75     0.00     37.28       8.32    139.35
                            2019        2                     10/01/2018             85.50     0.00     34.00       7.59    127.09
                            2019        3       TAX           01/01/2019         36,958.96     0.00 12,404.78       0.00 49,363.74
                            2020        1     REG FEE 123538 07/01/2019               0.00     0.00      0.00     13.00      13.00
                            2020        1       TAX           07/01/2019         40,257.14     0.00 8,921.39        0.00 49,178.53
                            2020        3       TAX           01/01/2020         39,369.74     0.00 4,553.78        0.00 43,923.52
                            2021        1     REG FEE 123538 07/01/2020               0.00     0.00      0.00     13.00      13.00
                            2021        1       TAX           07/01/2020         41,087.00     0.00    818.33       0.00 41,905.33
                            2021        3       TAX           01/01/2021         41,087.00     0.00      0.00       0.00 41,087.00
                            Total:                                              223,069.52     0.00 37,912.91     64.10 261,046.53

                            Notes

                            To make a payment, visit www.nyc.gov/payonline.
                            Payments made today are not reflected in the balances above.
NYC Digital Tax Map
                                  .                                                                     14
                                                                                                           2

                                                                                                                                                                                                                                                                                                                                                                        W
                                                                                                                                                                                                                                                                                                                                                                            92
                                                                                                                                                                                                                                                                                                                                                                                 ST


                                                                                                                                                                                                                                                                                                                                                                                             1206
                                                 V
                                               SA




Effective Date    : 12-09-2008 10:19:26
                                            BU




End Date          : Current
                                             M




Manhattan Block: 1204
                                          LU
                                          CO




                                                                                                                                                                  80
                                                          .42
                                                         201




                                                                                                                                                                                                                                                                                                                              1205
                                                                                                                           10 0.71




                                                                                                                                                                                           19
                                                                                                                                 1
                                                                                                                             0.7
                                                                                                                            10




                                                                                                                                                                                                       20
                                                                                1                                                                                                                                   19
                                                                                                                                                   56
                                                                                                                                                                                    55




                                                                                                                                                                                                                          20
                                                                                                                                                                                                                                   18
                                                                                                                                                                    10 0.71




                                                                                                               1
                                                                                                                                                                          1
                                                                                                                                                                      0.7
                                                                                                                                                                     10




                                                                                                                                                                                                                                             18
                                                                                                                                                                              10 0.71




                                                                                                                  18
                                                                                                                                                                                    1




                                                                                                                     .75
                                                                                                                                                                                0.7
                                                                                                                                                                               10




                                                                                                                                                                                                                                                  18
                                                                                                                                                                                      10 0.71
                                                                                                                                                                                    54




                                                                                                                             18
                                                                                                                                .75 8
                                                                                                                                                                                            1




                                                                                                                                       0
                                                                                                                                                                                        0.7




                                                                                                                                                                                                                                                        18                                  W
                                                                                                                                                                                            153
                                                                                                                                                                                       10




                                                                                                                                    18                                                                                                                                                          91
                                                                                                                                                                                                 10 0.71
                                                                                                                                       .75
                                                                                                                                                                                                       1                                                                                             ST




                                                                                                                                                                                                                                 51
                                                                                                                                                                                                   0.7
                                                                                                                                                                                                                                                                   18
                                                                                                                                                                                                  10
                                                                                                                                                18

                                                                                                                                                                                                                 10 0.71
                                                                                                                                                                                                                  10 3
                                                                                                                                                   .75



                                                                                                                                                                                                                        1
                                                                                                                                                                                                          5
                                                                                                                                                                                                                    0.7
                                                                                                                                                                                                                                                                             18
                                                                                                                                                         18




                                                                                                                                                                                                            10 .71
                                                                                                                                                            .75 19
                                                                                          10 00.71




                                                                                                                                                                                                                                                  50
                                                                                                                                                                                                                  1
                                                                                                                                                                                                              0.7
                                                                                                                                                                                                                0
                                                                                                1




                                                                                                                                                                                                             10
                                                                   13                                                                                            18




                                                                                                                                                                                                                                100 0.71
                                                                                            0.7
                                                                                                 10 06




                                                                      7                                                                                             .92 20




                                                                                                                                                                                                                                   .71
                                                                                            1




                                                                          .5




                                                                                                                                                                                                                                                        49
                                                                                                10 0.71
                                                                                               1

                                                                                                      1




                                                                                                                                                                                                                                 10



                                                                                                                                                                                                                                                 10 0.71
                                                                                                  0.7




                                                                                                                                                                              17    19




                                                                                                                                                                                                                                                         1
                                                                                                               10 .71




                                                                                                                                                                                                                                                     0.7
                                                                                                                     1




                                                                                                                                                 109




                                                                                                                                                                                                               52
                                                                                                                 0.7




                                                                                                                                                                                                                                                   10


                                                                                                                                                                                                                                            10 0.71
                                                                                                                                                                                    16
                                                                                                         7
                                                                                                                  0




                                                                                                                                                                                                                                                   1
                                                                                                                                                                                       .67 20
                                                                                                                           10 00.71




Legend
                                                                                                               10




                                                                                                                                                                                                                                               0.7
                                                                                                                                                                                           16




                                                                                                                                                                                                                                             10
                                                                                                                                 1




                                                                                                                                                                                                                                        100 .71
                                                                                                                             0.7




                                                                                                                                                                                              .67




                                                                                                                                                                                                                                           .71
                                                                                                                                   10 0.71




                                                                                                                                                                                                        18




                                                                                                                                                                                                                          150
                                                                                                                             1




                                                                                                                                                                                                                                         100
                                                                                                                                         1




          Streets




                                                                                                                                                                                                                                                             10 .71
                                                                                                                                                                                                       18
                                                                                                                                     0.7




                                                                                                                                                                                                                                                                   1
                                                                                                                                                                    11
                                                                                                                               9                                                                          .5




                                                                                                                                                                                                                                                               0.7
                                                                                                                                    10




                                                                                      18
                                                                                                                   8                                                                                                 18
                                                                                                                                             10 0.71




                                                                                                                                                                                                                                                                 0
                                                                                         .75                                                                                                                                                                                                              19
                                                                                                                                                   1
          Miscellaneous Text




                                                                                                                                                                                                                                                              10
                                                                                                                                                                                                                                                                                                             8




                                                                                                                                                                             111
                                                                                                                                               0.7

                                                                                                                                                                                                                    20
                                                                                                                                              10


                                                                                               18                                                                                                                          18
                                                                                                                                                        10 0.71
                                                                                                                                                         10 0
          Possession Hooks                                                                        .75

                                                                                                                                                               1
                                                                                                                                                  1
   C
                                                                                                                                                           0.7
                                                                                                                                                                                                                          19
                                                                                                         18                                                                                                                        18




                                                                                                                                                   10 .71
          Boundary Lines                                                                                    .75




                                                                                                                                                         1




                                                                                                                                                                                                                                                       48
                                                                                                                                                                                             13
                                                                                                                                                     0.7
                                                                                                                                                       0
                                                                                                                                                                                                                                             18




                                                                                                                                                    10


                                                                                                                                                                          10 0.71
          Lot Face Possession Hooks                                                                                18




                                                                                                                                                                                                      14
                                                                                                                                                                                  1
   C                                                                                                                  .75                                                                                                                  11




                                                                                                                                                                       10 00.71
                                                                                                                                                                              0.7
                                                                                                                                                                                                                                             7    18
          Regular




                                                                                                                                                                            10
                                                                                                                              18




                                                                                                                                                                             1
                                                                                                                                 .75




                                                                                                                                                                         0.7




                                                                                                                                                                                                                    15
                                                                                                                                                                         1
                                                                                                                                                                                                                                                       1204




                                                                                                                                                                                          10 0.71
          Underwater                                                                                                                   18




                                                                                                                                                                                                1
                                                                                                                                          .92




                                                                                                                                                                                            0.7
                                                                                                                                                                                           10



                                                                                                                                                                                                     10 0.71
          Tax Lot Polygon




                                                                                                                                                                                                           1
                                                                                                                                                   17




                                                                                                                                                                                                       0.7
                                                                                                                                                                       12




                                                                                                                                                                                                      10
          Condo Number




                                                                                                                                                                                                               10 0.71
                                                                                                                                                         16




                                                                                                                                                                                                                     1
                                                                                                                                                            .67




                                                                                                                                                                                                                 0.7
                                                                                                                                                                                                                                                                                  NA
          Tax Block Polygon




                                                                                                                                                                                                                10
                                                                                                                                                                  16
                                                                                                                                                                     .67
                                                                                                                                                                            18
                                                                                                                                                                               .5                                                                                                      17                  21
                                                                                                                                                                                     20                                                                                                     17




                                                                                                                                                                                                                                                                                                                          10 0.71
                                                                                                                                                                                                                                                                                                                                1
                                                                                                                                                                                                                                                                                                                            0.7
                                                                                                                                                                                                                                             16                                                                                                      19




                                                                                                                                                                                                                                                                                                                           10
                                                                                                                                                                                                19                                                                                                                                                      4




                                                                                                                                                                                                                                                                              20

                                                                                                                                                                                                                                                                                    1  20
                                                                                                                                                                                                                                                                           10 00.71
                                                                                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                                                              0.7

                                                                                                                                                                                                                                                                          0.7 1
                                                                                                                                                                                                                                                                              .7
                                                                                                                                                                                                                                                                               1
                                                                                                                                                                                                                                                                               1
                                                                                                                                                                                                      W                           11




                                                                                                                                                                                                                                                                            0
                                                                                                                                                                                                          90                        7                                                                                NA




                                                                                                                                                                                                                                                                   10 0.71
                                                                                                                                                                                                                                                                         10



                                                                                                                                                                                                                                                                         1
                                                                                                                                                                                                               ST




                                                                                                                                                                                                                                                                       10
                                                                                                                                                                                                                                                                                                                    NA




                                                                                                                                                                                                                                                                     0.7
                                                                                                                                                                                                                                                                    10
                                                                                                                                                                                                                                                              17
                                                                                                                                                                                                                                                                        17




                                                                                                                                                                                                                                                                                                          10 .71
                                                                                                                                                                                                                                                                                                                1
                                                                                                                                                                                                                                                                                                            0.7
                                                                                                                                                                                                                                                                                                             0
                                                                                                                                                                                                                                                                                                          10
                                                                                                                                                                                                                                                                                            91                                        29
                                                                               1203
                                                                                                                                                                           CONDO #: 1000




                                                                                                                                                                                                                                                                                                                                                                  .42
                                                                                                                                                                                                                                                                                                                                                                    1
                                                                                                                                                                                                                                                                                                                                                                 20




                                                                                                                                                                                                                                                                                                                                                                                             KW
                                                                                                                                                                                                                                                                                                                                                                                          AR
                                                                                                                                                                                                                                                                                                                               20




                                                                                                                                                                                                                                                                                                                                                                                        LP
                                                                                                                                                                                                                                                                                                                                  0




                                                                                                                                                                                                                                                                                                                                                                                        RA
                                                     W




                                                                                                                                                                                                                                                                                                                                                                                        NT
                                                         89
                                                              ST




                                                                                                                                                                                                                                                                                                                                                                                      CE
                                          120
                                                2
                                                                                                                                                                                                                                                                                                                                                                                                    Feet
                                                                                                                                                                                                                                                                                                                                      0    20   40          80                    120             160
                                       RIVERSIDE ABSTRACT, LLC
                                                 as Agent for
                                      AMTRUST TITLE INSURANCE COMPANY

                       MUNICIPAL DEPARTMENT SEARCHES AND STREET REPORT

Title No.: RANY-40759

Any searches or returns reported herein are furnished FOR INFORMATION ONLY. They will not be insured and the
Company assumes no liability for the accuracy thereof. They WILL NOT BE CONTINUED to date of closing.

Patriot Search                                  HEREIN

Bankruptcy Search                               HEREIN

Certificate of Occupancy                        HEREIN

Housing & Building                              HEREIN

Fire Dept. Search                               HEREIN

Emergency Repairs                               HEREIN

Street Report                                   HEREIN




Air Resources                                   HEREIN


                                                   STREET VAULTS

In New York City, if there is a STREET VAULT, it is suggested that the applicant investigate possible unpaid license fees
by the City of New York for the use of such vault, because the right to maintain it IS NOT INSURED, nor does the
Company insure that the vault charges have been paid.




Municipal Department Searches                                                                                 RANY-40759
                                    UNITED STATES PATRIOT NAME SEARCH

Date: September 3, 2020                                                                   Title No.: RANY-40759

                        NAME(S) OF INDIVIDUAL(S), CORPORATION(S) OR BUSINESS(ES)

                                                60 91St Street Corp.

                                         This information is as of 08/18/2020

WE HAVE SEARCHED THE SPECIALLY DESIGNATED NATIONALS AND BLOCKED PERSONS LIST,
MAINTAINED BY THE OFFICE OF FOREIGN ASSETS CONTROL OF THE U.S DEPARTMENT OF
TREASURY, AND REPORT THE FOLLOWING FINDINGS WITH RESPECT TO THE PERSON OR ENTITY
LISTED ABOVE:

 There is no record found for the above mentioned individual, corporation or business.

 A record was found against someone of same or similar name as the above mentioned individual,
    corporation or business.

                        IMPORTANT NOTICE ABOUT THE ABOVE SEARCH INFORMATION

The Special Designated Nationals (SDN) List is frequently updated. There is no predetermined timetable, but
rather names are added and removed as necessary and appropriate.

RIVERSIDE ABSTRACT, LLC does hereby certify that the records of the above Governmental agency were
examined and that the information recorded above is a true and accurate abstract of the information contained
therein.

This report is submitted for information purposes only. Liability is limited to errors and omissions of information
properly indexed, filed and recorded with the above governmental agency. The liability under this search will not
exceed $1,000 and shall be confined to the applicant for whom the search was made.




United States Patriot Name Search                                                                       RANY-40759
                                         BANKRUPTCY SEARCH

Date: September 3, 2020                                                                   Title No.: RANY-40759

                     NAME(S) OF INDIVIDUAL(S), CORPORATION(S) OR BUSINESS(ES)

                                              60 91St Street Corp.

                                       This information is as of 08/18/2020

LAST KNOWN ADDRESS:

COUNTY: New York

SOCIAL SECURITY OR FEDERAL IDENTIFICATION NO.:



A search of the records of the United States Bankruptcy Court, for the above County, has been made in all
districts of New York with the following results:

 There is no record of a bankruptcy filing for the above referenced individual, corporation or business.

 See attached for active and/or closed cases found on file.

 Due to multiple listings and/or variations of the above referenced name a Social Security or EIN No. is
    required.

IMPORTANT NOTICE ABOUT THE ABOVE SEARCH INFORMATION

Riverside Abstract, LLC does hereby certify that the records of the above Governmental agency were examined
and that the information recorded above is a true and accurate abstract of the information contained therein.

This report is submitted for information purposes only. Liability is limited to errors and omissions of information
properly indexed, filed and recorded with the above governmental agency. The liabilities under this search shall
not exceed $1,000 and shall be confined to the applicant for whom the search was made.

This search does not include filings other than the microfiche or index Sections of the United States Bankruptcy
Clerk’s Office.




Bankruptcy Search                                                                                       RANY-40759
8/18/2020                                                           New York Southern Live System

                                           20-10338-scc 60 91st Street Corp.
                         Case type: bk Chapter: 11 Asset: Yes Vol: v Judge: Shelley C. Chapman
                                  Date filed: 02/04/2020 Date of last filing: 08/17/2020


                                                  Case Summary

 Office:Manhattan
                                 Filed: 02/04/2020
 County:NEW
                          Terminated:
 YORK-NY
 Fee: Paid          Debtor discharged:
 Origin: 0                  Reopened:
 Previous
                           Converted:
 term:
                     Debtor dismissed:
                          Confirmation
 Joint: n
                              hearing:
 Original
 chapter: 11
 Current
 chapter: 11


 Nature of debt: business
 Pending status: Appeal Filed
 Flags: APPEAL

 Trustee: Heidi J.
 Sorvino, Chapter City: Phone:
 11 Trustee,
                   City: New York
 Trustee: United
                    Phone: (212) 510-     Fax: (212) 668-2255                Email:USTPRegion02.NYECF@USDOJ.GOV
 States Trustee
                   0500

 Party 1: 60 91st Street Corp. (Debtor)
       Tax ID / EIN: XX-XXXXXXX

 Atty: Charles A Represents party         Phone: 917-673-3768
 Higgs             1: Debtor              Email: Charles@Freshstartesq.com
 Location of case
 files:
    Volume: CS1
 The case file may be available.




https://ecf.nysb.uscourts.gov/cgi-bin/qrySummary.pl?300158                                                        1/1
                                                                                    Search Date: 8/12/2020

       County:                   NEW YORK

       Title/CoNo.:              BETTER RANY-40759

       Address:                  60 WEST 91 STREET

       Block:                    1204
       Lot:                      54


                                    FIRE DEPARTMENT VIOLATION SEARCH


In reply to your request concerning the above mentioned premises, please be advised that as
of 9 A.M. on 6/1/2020, the records show the following:



NO VIOLATIONS




Violations recorded above are of record in headquarters of the Division of Fire Prevention only, and may not include
violations issued by local units.
Municipal Data services Inc. certifies that the records of the above municipal agency were examined on behalf of BETTER RESEARCH. The information
reported above is true and accurate abstract of the information on file therein. This report is submitted for information purposes only. There are no
intended third party beneficiaries. No liability is assumed.


                                                                                                           3597214                    11858809
                                                                                    Search Date: 8/10/2020

       County:                   NEW YORK

       Title/CoNo.:              BETTER RANY-40759

       Address:                  60 WEST 91 STREET


       Block:                    1204
       Lot:                      54



                                                     EMERGENCY REPAIRS

A search of the records of the Department of Housing Maintenance Emergency Repairs Unit
shows the following:



Amount due HPD:                  $0.00                               Last Printed Lien Book:                   7/24/2020


The following Emergency Repair charges were found as of                                  8/10/2020

(3) BUILDING CHARGE(S)

*** SEE ATTACHED ***




Municipal Data services Inc. certifies that the records of the above municipal agency were examined on behalf of BETTER RESEARCH. The information
reported above is true and accurate abstract of the information on file therein. This report is submitted for information purposes only. There are no
intended third party beneficiaries. No liability is assumed.


                                                                                                           3597214                    11858807
The selected address: 60 WEST 91 STREET, Manhattan 10024

This building has filed records with the New York State Division of Housing and Community Renewal at
least one time from 1993 to the present year and may contain one or more regulated apartments.

HPD#                 Range    Block      Lot  CD CensusTract         Stories    A Units     B Units     Ownership           Registration#       Class
36927 Active         60-60    01204      0054 7  17700               4          9           0           PVT                 123538              G



PLEASE REVIEW THIS REPORT IN ITS ENTIRETY, INCLUDING ALL NOTES AT THE END.

THIS BUILDING CHARGE REPORT PROVIDES NOTICE, AS REQUIRED BY NEW YORK CITY
ADMINISTRATIVE CODE §27-2144(a), OF OPEN WORK ORDERS AND FEES REPRESENTING
CHARGES THAT MAY BE BILLED TO THIS PROPERTY AND THE DATES THAT THEY WERE ENTERED
ON THE RECORDS OF THE DEPARTMENT.

The Department of Finance website (DOF) provides the current status of any charge listed on this report after
that charge has been transferred to DOF (see the column furthest to the right on the below charts for the
transfer date), including interest accumulation, payments and adjustments. Charges are transferred to DOF
for collection once HPD has paid the vendor who completed the work or after an invoice for work done by HPD
staff has been completed.

Please be aware that this report does NOT include:

        most demolition charges incurred prior to January 1, 2000.

        most non-demolition charges incurred by HPD prior to July 1, 1999.

        Civil penalties imposed by the Housing Court for failure to comply with HPD issued violations.



For information on amounts owed for demolition charges incurred prior to January 1, 2000 and for all non-
demolition charges incurred by HPD prior to July 1, 1999, contact HPD's ERP Accounting Unit at (212) 863-
6810 to verify the amount owed for those charges. For information on whether there are pending civil
penalties, see the Litigation/Case Status link on the left hand toolbar for this building.

The Charge Report will include information on the following building(s).
HPD Bldg ID                     Status           House No                   Street name                                      Life Cycle
36927                           Active           60                         WEST 91 STREET                                   BLDG




                                                      Charges for this Building

                             Work Orders: 3                                               Fees: 0



                                       Building Charge Report as of 8/9/2020
                                                    Work Orders
                                                                                            Invoice
                                                                                                                                           Date
                                         Award Amt          Create Dt/                    Approved
WO TYPE/                      Total Work                                    WO Close                Admin Fee/                 Total   Charges
              Job General                Chg Orders         Award Dt/                      Amount/
WO#                                 Cost                                     Reason                  Sales Tax/              Charge Transferred
                                             (WOs)            Invc Dt/                         Svc
                                                                                                                                        to DOF
                                                                                          Chg(Y/N)


AOR           MISC                                    0.00 06/23/2006        No Access           0.00           0.00            0.00
E637806                                                                                                         0.00
Work Order Description:      apt a) at living room remove illegal double cylinder key operated lock at the fire exit door




OMO           GC                   884.75         884.75 10/13/2006             OMO           884.75           75.00         1036.06        03/20/07
E710789                                             0.00 10/17/2006         Completed                          76.31
                                                       11/29/2006
Work Order Description:   apt b) at bedroom, trace and repair source of concealed water leak from above affecting walls and walls and once
                          source is abated restore damaged wa




OMO         DELEAD               12.00         12.00 12/13/2006            OMO           12.00         15.00          28.04       04/20/07
E716167                                         0.00 12/18/2006        Completed                        1.04
                                                     12/29/2006
Work Order Description:   as per rc # 20070012184 (enviro-probe inc), perform total lead analysis of 04 dust wipe sample(s) via
                          environmental protection agency (epa) sw845-3050
                               Totals for 60 WEST 91 STREET Life Cycle: BLDG
             Charge Amount: $896.75    Admin Fee: $90.00   Sales Tax: $77.35                         Total: $1,064.10

                      Total for all Work Order & AOR charges on all building(s) on this report:
Charge Amount                  Admin Fee                  Sales Tax                    Total
$896.75                           $90.00                              $77.35                              $1,064.10




 Repair, AEP Fees, Heat/Hot Water Inspection Fees, Inspection Fees Grand Totals
Invoiced Approved & Fee          Admin Fee                           Sales Tax                           Total
Amount
$896.75                          $90.00                              $77.35                              $1,064.10




                                                           Charge Status
Invoiced - Not Yet Paid         Paid by HPD - Not Yet                Invoiced and Transferred            Grand Totals
by HPD                          Transferred to DOF
$0.00                           $0.00                                $1,064.10                           $1,064.10




                                                           Definitions:

Work Order Section

Work Type: There are two work types:

       OMO: (Open Market Order): Private vendors perform Open Market Order (OMO) work, making repairs in
       response to HPD solicitations to complete the work described.

       AOR: (Area Office Repair): Repair work performed by HPD personnel.

Work Order #: Distinct identifier assigned to the work order.

Job General: Indicates the general category of the type of work performed. There are some special notes
related to specific categories of job general:

       7A Financial Assistance (7AFA) repair charges are Court/Agency authorized charges for buildings in the
       7A Management Program. For more information about whether a 7AFA funded repair is ongoing or
       completed, or if partial liens have been filed, or will be filed, call the 7AFA Program at (212) 863-7356.


       Utilities: If a property is going to be sold or transferred, it is the responsibility of the parties involved to
       make sure that all utility bills for service provided by HPD are paid and that service provided by HPD is
       terminated. Utility Providers can take three or more months to invoice HPD; therefore all charges owed
       may not be posted on this Building Charge Report at the time of transfer. To terminate service provided
       by HPD, please contact the Utility Unit at (212)863-7704 for account termination and final invoice
       estimates.

Total Work Cost: This is the current total cost of the work itself, including the award amount and any change
orders. This will not be the amount owed, which will include an administrative fee and sales tax and which
may be reduced if the work is not performed and only a service charge is billed.
Estimated Cost: For Elevator work conducted in order to address Department of Buildings violations, an
estimated cost of the work will be provided (not including an administrative fee and sales tax that will be owed
after billing is finalized). This cost is subject to change until the work is completed and invoiced.

Award Amt: Once the agency and vendor agree on the price for an OMO based on the initial scope of work,
this amount is defined as the award amount of the contract, which is listed in the 'Award Amt' column of this
report. Since there is no award to an outside vendor when the work is completed by HPD, award amounts for
AORs are blank. Award amounts may not be final and are subject to change order increases or
decreases.

      Award Amount Note for Utility Charges: The Award Amount on Utility OMOs is $1.00 because
      billing by the Utility Company occurs after the utility account is initially set up. There can be multiple
      invoices for each Utility OMO. Charges that will be owed for utility services may not appear on this
      report until after the exact amount owed has been determined, which can take numerous months to
      occur. One charge being listed on this report for a Utility OMO indicates that other charges may be
      forthcoming for the same Utility OMO later on. In order to find out if there will be future charges due for
      a Utility OMO in addition to the charges already listed, please call HPD's Utilities Unit at 212-863-7704.
      Utility charges will continue to accrue until the property owner opens an appropriate account for the
      service. Multiple Utility OMOs may exist for the same Utility account.
      Award amount note for Fireguard charges: The award amount on a Fireguard OMO is initially listed
      as $1.00 because the amount that the Fireguard provider will be awarded for the work order by HPD is
      determined only after a Fireguard(s) has been initially posted, and the final amount to be charged
      depends upon how long the Fireguard is in place at the building. Each hour that a Fireguard is in place
      results in an additional payment to the Fireguard provider and additional billing to the building owner.
      There can be multiple OMOS for each Fireguard and/or multiple invoices for each Fireguard OMO.
      Charges that will be owed for Fireguard services may not appear on this report until after the exact
      amount owed has been determined. This may take several months. One charge listed on this report for
      a Fireguard OMO indicates that other charges may be forthcoming for the same Fireguard OMO and/or
      another Fireguard OMO later on. If you have any questions about the hazardous conditions that are
      resulting in a fireguard that is currently in place at the building, please call HPD's Special Enforcement
      Unit at 212-863-8611. Charges for Fireguard services will continue to accrue until the building owner
      cures the hazardous violating condition(s) that have resulted in the need for a Fireguard to HPD's
      satisfaction or provides its own licensed Fireguard service that is approved by HPD. All expenses incurred
      by HPD for the Fireguard service will be charged against the building, and may become a tax lien
      pursuant to NYC Administrative Code §27-2144 if they remain unpaid.


Chg Order: Change orders indicate modifications made to the original scope of work and may result in either
an increase or decrease to the initial award amount and to the amount owed. Change order information
will be available only for OMOs awarded on or after August 1, 2011.

Svc Chg: The 'Svc Chg' column, located immediately below the 'Invoice Approved Amount' figure, indicates
whether a service charge is owed to a vendor. A service charge is owed when a vendor makes an attempt to
visit a property to address a condition pursuant to a work order and the work order is subsequently cancelled
(for example, a service charge can be owed when there is no access to make a repair). If 'Y' appears in the
Service Charge column and an amount is not present, then the amount that will be owed for the service
charge has not yet been determined.

Total Charge: Amount to be transferred to DOF for collection by DOF.

Description of fees types:

      AEP Fees: If this building is in the Alternative Enforcement Program (AEP), then fees may be assessed
      pursuant to New York City Administrative Code Section 27-2153 and Section 36-03 of Chapter 36 of
      Title 28 of the Rules of the City of New York. These fees become a tax lien against the property if not
      timely paid. If you have questions about AEP charges and fees, please call the Alternative Enforcement
      Program at (212)863-8262.

      Heat and Hot Water Inspection Fees: For a third or any subsequent inspection that results in a
      heat violation within the same heat season (October through May) or for a third or any subsequent
      inspection which results in a hot water violation within a calendar year, HPD will charge a fee of $200
      for such inspections, pursuant to New York City Administrative Code Section 27-2115. Such fees
      become a tax lien against the property if not timely paid.

      Inspection Fees: Pursuant to section 27-2115 of the New York City Administrative Code, HPD is
      authorized to impose a fee for the third and each subsequent complaint-based housing inspection it
      performs in a particular dwelling unit where certain conditions are met, including HPD having already
      inspected the unit twice in the same twelve-month period, HPD having issued hazardous (class B) or
      immediately hazardous (class C) violations, and the owner having failed to repair and timely certify that
      those violations have been corrected. The fee, if not timely paid, becomes a tax lien against the
     property.


Copies of documents may be requested pursuant to the Freedom of Information Law (FOIL) by
writing to: FOIL Officer, HPD, 100 Gold Street, Room 5-U9, New York New York 10038. A FOIL
request may also be submitted via the HPD website.




                                         Print Page
                                                                                    Search Date: 8/10/2020

       County:                   NEW YORK

       Title/CoNo.:              BETTER RANY-40759

       Address:                  60 WEST 91 STREET

       Block:                    1204
       Lot:                      54


                                                          STREET REPORT

A search of the Topographical Department shows the following results:



     Street Width: WEST 91 STREET - MAPPED AT 30' CEDED 04/17/1860 NORTHERLY
                   OPEN 05/11/1880 SOUTHERLY.


   Cross Streets: CENTRAL PARK WEST - MAPPED AT 63' OPEN 1811
                  TO THE FULL WIDTH
                  COLUMBUS AVENUE - MAPPED AT 60' OPEN 12/23/1854
                  TO THE FULL WIDTH




Municipal Data services Inc. certifies that the records of the above municipal agency were examined on behalf of BETTER RESEARCH. The information
reported above is true and accurate abstract of the information on file therein. This report is submitted for information purposes only. There are no
intended third party beneficiaries. No liability is assumed.


                                                                                                           3597214                    11858805
County:               NEW YORK                                                          Search Date: 8/10/2020

Title/CoNo.: BETTER RANY-40759

Address:              60 WEST 91 STREET

Block:                1204
Lot:                  54

                                             AIR RESOURCES SEARCH
A search of the records of the City of New York, Department of Environmental Protection,
against the above captioned premises shows the following:




Please see attached information.




Municipal Data services Inc. certifies that the records of the above municipal agency were examined on behalf of BETTER RESEARCH.The
information reported above is true and accurate abstract of the information on file therein. This report is submitted for information purposes
only. There are no intended third party beneficiaries. No liability is assumed.
00030.00




                                                                                                          3597214               11858808
                                                                                                            8/10/2020




                           Municipal Data Services
                           25Hyatt Street
                           Suite 301
                           Staten Island, NY 10301
Vincent, Sapienza P.E.
 Commissioner
                           RE: Title Search Inquiry                  Letter Dated:   8/10/2020


                           Dear Applicant:
Michael Gilsenan
Assistant Commissioner     Please be advised, it is a violation of the New York City Administrative Code, Title 24,
Environmental Compliance   Air Pollution Control Code, to operate fuel-burning or process equipment as specified in
                           the Code without a valid Registration or Certificate of Operation. If such equipment,
                           although unknown to us exist, it is automatically in violation of the law. This applies
59-17 Junction Boulevard   regardless to the information provided here in.
Records – 9th Floor
Flushing, NY 11373         For the requested locations:    60 WEST 91 STREET                         MANHATTAN

                           The Bureau of Environmental Compliance Division of Air Engineering has searched its
                           files regarding the above referenced premise(s) and has found that:

                           Records are available, but there are no outstanding violations.


                           If there are any existing records or violations for the requested location, please see the
                           attached documents.


                           For questions related to this finding, please contact us at catsfeedback@dep.nyc.gov or
                           (718) 595-3855
NYC DEP CATS Information                                                                                                   Page 1 of 1


                                                                                          Register with CATS
                                                                                            Login into CATS




                                                         NYC DEP CATS Information
PREMISES: 60 WEST 91 STREET MANHATTAN        BIN: 031614 BLOCK: 01204 LOT: 0054
Owner: 60 91ST STREET CORP. - ATTN: KIM   Application #: CA460485          Type: REGISTRATION -       Expiration Date: 7/1/2015
MORTIMER                                                                   BOILER
Business Type: NA                         Request Type: Renewal - Boiler   Status: EXPIRED            Submitted Date: NA Decision Date:
                                                                                                                             10/21/1985
Boiler Make / Model: NATIONAL RADIATOR    Fuel Type 1: NO2FUEL             Fuel Type 2: NONE          Heat Input (BTU/Hr.): 840000
HEAT EXTRACTOR / NATIONAL RADIATOR
HEAT EXTRACTOR
Burner Make / Model: AUTO HEAT DX2F /     Number of Identical Units: 1
AUTO HEAT DX2F
                                                      Better Research LLC
RANY-40759

SEC/BLK/LOT               Type                Start               End               County        Returns   Run Date
1204-54                   SIDEWALK LIENS      6/1/1987            8/14/2020         MANHATTAN     1         8/18/2020
                                           06 - SIDEWALK LIEN BOOK INQUIRY
                                                 Request Judgment Copy

CTRL NO: 002664123 - 01                                        DEBTORS: 01

Docket Date: 02/25/2010                                        TYPE: SL - SIDEWALK LIEN
EFFECTIVE DATE: 02/25/2010 ENDING:                             COUNTY: 31 NEW YORK (MANHATTAN)
CLERK / SEQ # : STIMMONS 001                                   COURT: NONE
BLOCK: 01204 LOT: 00054                                        INDEX NUMBER: 82194

DEBTOR                                                         CREDITOR
60 91St Street Corp                                            Nyc Department Of Transportation
60 WEST 91ST STREET                                            55 WATER STREET FL 4
NEW YORK NY                                                    NY NY 10041

                                       AMOUNT:           .00 Judgment Status OPEN




                                                                                                                  Page 1 of 1
                                          RIVERSIDE ABSTRACT, LLC
                                                  As Agent for
                                       AMTRUST TITLE INSURANCE COMPANY

                                          CLEARANCE INFORMATION

Title No.: RANY-40759
THE FOLLOWING IS A LIST OF PLACES AND PHONE NUMBERS WHICH WILL FACILITATE CLEARING SOME
OBJECTIONS RAISED IN THIS REPORT. FOR ADDITIONAL INFORMATION CALL:
PARKING VIOLATIONS - A Satisfaction of Judgment must be obtained from the parking Violations Bureau located at any
of the below addresses. Said Satisfaction is then to be filed with the New York County Clerk's Office located at 60 Centre
Street, New York, NY and upon paying an $8.00 fee they will issue a Certificate of Disposition. In the alternative you can
go to nyc.gov/finance and pay the amount due. Please forward to our company a receipt of your payment in order for us to
omit any PVB Objection.
PVB HELP CENTERS: (718)422-7800 - OPEN MONDAY THROUGH FRIDAY - 8:30 AM TO 7:00 PM
   MANHATTAN HELP CENTER - 1 Centre Street (1st Floor)
   BRONX HELP CENTER - 1400 Williamsbridge Road
   BROOKLYN HELP CENTER - 210 Joralemon Road
   QUEENS HELP CENTER - 89-61 162nd Street
   STATEN ISLAND HELP CENTER - 300 St. Marks Place
NEW YORK STATE TAX COMMISSION LIENS - For information regarding disposition and payments, please write: Tax
Compliance Division, PO Box 5149, Albany, NY 12205, or call (800)835-3554 or (800)452-0455.
WEB SITE: www.tax.state.ny.us
FEDERAL TAX LIENS -For information regarding disposition and payments, please write: The Internal Revenue Service,
290 Broadway, New York, NY or at 210 East Post Road, White Plains, NY 10601 or call (800)829-1040. In Brooklyn, call
(718)488-2818. Upstate call (716)961-5305. In New York City call (212)719-8276.
WEB SITE: www.irs.gov
CITY OF NEW YORK LIENS - For information regarding disposition and payments, please write: The Department of
Finance, Bureau of Tax Collection, 345 Adams Street, 5th Floor, Brooklyn, NY 11201.
WEB SITE: www.nyc.gov/finance
HIGHWAY DEPARTMENT (sidewalk violations) - For information regarding disposition and payments, please write:
The Highway Department, 51 Chambers Street, New York NY 10007 or call (718)222-7233.
ENVIRONMENTAL CONTROL LIENS - For information regarding disposition and payments, please write:                       The
Environmental Control Board, 66 John Street, 10th Floor, New York, NY 10001 or call (212)361-1400.
TRANSIT ADJUDICATION LIENS - For information regarding disposition and payments, please write: 505 Fulton Street,
6th Floor, Brooklyn, NY 10201 or call (347)643-5800 or (718)330-3000 (Law Department).
NEW YORK STATE COMMISSIONER: For information regarding dispositions and payments, please write: NYS
Department of Labor, Building 12, State Campus, Room 500, Albany, New York 12240 or call (518)457-2746. WEB SITE:
www.labor.state.ny.us
INTEREST CLERK - For interest on all outstanding taxes in the City of New York or questions regarding In-Rem, please
write: The City of New York, Department of Finance, 345 Adams Street, 5th Floor, Brooklyn, NY 11201, or call
(718)935-6533.
NEW YORK STATE DEPARTMENT OF TAX AND FINANCE: For the State of New York, From TP-584 must be
completed along with the appropriate tax check (made payable to the NYS Department of Finance, and forwarded to :
NYS Department of Taxation and Finance, PO Box 5045, Albany, NY 12205-5045 or call (518)485-6800 - WEB SITE:
www.tax.state.ny.us
For Filing TP-584 for Co-Ops, forward to Department of Taxation and Finance, Miscellaneous Tax Insourcing Unit, W.A.
Harrison Campus, Building 8, Room 600, Albany, NY 11228.
When the property is in the City of New York, The RPT must be completed along with the appropriate tax and made
payable to NYC Department of Finance along with an additional check for $25.00 (made payable to the City Register) and
forwarded to: Department of Finance, 345 Adams Street, 5th Floor, Brooklyn, NY 11201.



Clearance Information                                                                                          RANY-40759
                                           PRIVACY NOTICE 2
                            Independent Agencies and Unaffiliated Escrow Agents

  WHAT DOES RIVERSIDE ABSTRACT, LLC and AMTRUST TITLE INSURANCE COMPANY DO WITH YOUR PERSONAL
  INFORMATION?
  Federal and applicable state law and regulations give consumers the right to limit some but not all sharing. Federal and
  applicable state law regulations also require us to tell you how we collect, share, and protect your personal information. Please
  read this notice carefully to understand how we use your personal information. This privacy notice is distributed on behalf of
  Riverside Abstract, LLC and AMTrust Title Insurance Company, pursuant to Title V of the Gramm-Leach-Bliley Act (GLBA).

  The types of personal information we collect and share depend on the project or service that you have sought through us. This
  information can include social security numbers and driver's license number.

  All financial companies, such as companies engaged in banking, consumer finance, securities and insurance, need to share
  customer's personal information to run their everyday business – to process transactions and maintain customer accounts. In the
  section below, we list the reasons that we can share customers' personal information; the reasons that we choose to share; and
  whether you can limit this sharing.


  Reasons we can share your personal information                              Do we share?              Can you limit this sharing?
  For our everyday business purposes – to process your
  transactions and maintain your account. This may include
  running the business and managing customer accounts, such as                     Yes                               No
  processing transactions, mailing, and auditing services, and
  responding to court orders and legal investigations.
  For our marketing purposes – to offer our products and services                  Yes                               No
  to you.
  For joint marketing with other financial companies                                No                        We don't share
  For our affiliates' everyday business purposes – information
  about your transactions and experiences.        Affiliates are                   Yes                               No
  companies related by common ownership or control. They can be
  financial and nonfinancial companies.
  For our affiliates' everyday business purposes – information                      No                        We don't share
  about your creditworthiness.
  For our affiliates to market you                                                 Yes                               No
  For nonaffiliates to market you. Nonaffiliates are companies
  not related by common ownership or control. They can be                           No                        We don't share
  financial or nonfinancial companies
We may disclose your personal information to our affiliates or to nonaffiliates as permitted by law. If you request a transaction with a
nonaffiliated, such as a third party insurance company, we will disclose your personal information to that nonaffiliated. [We do not
control their subsequent use of information, and suggest you refer to their privacy notices.]

  Sharing practices
  How often does Riverside Abstract, LLC notify           We must notify you about our sharing practices when you request a
  me about their practices?                               transaction.
  How does Riverside Abstract, LLC protect my             To protect your personal information from unauthorized access and use,
  personal information?                                   we use security measures that comply with federal and state law. These
                                                          measures include computer, file, and building safeguards.
  How does Riverside Abstract, LLC collect my             We collect your personal information, for example, when you
  personal information?                                   • Request insurance-related services
                                                          • Provide such information to us
                                                          We also collect your personal information from others, such as the real
                                                          estate agent or lender involved in your transaction, credit reporting
                                                          agencies, affiliates or other companies.
  What sharing can I limit?                               Although federal and state law give you the right to limit sharing (e.g., opt
                                                          out) in certain instances, we do not share your personal information in
                                                          those instances.
  Contact Us                If you have any questions about this privacy notice, please contact us at (718) 252-4200.



Privacy Policy                                                                                                               RANY-40759
